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    EXHIBIT A
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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

CLAY COCKERELL and                                         §
COCKERELL DERMATOPATHOLOGY,                                §
P.A.,                                                      §
                                                           §
         Plaintiffs,                                       §
                                                           §
V.                                                         §   Cause No. __________________
                                                           §
CBS NEWS INC; JIM AXELROD; and                             §
EMILY RAND,                                                §
                                                           §
     Defendants.                                           §

           INDEX OF DOCUMENTS FILED IN STATE COURT PROCEEDINGS

                                Document                              Date filed in State Court

     Exhibit A-1       Docket                                            As of July 10, 2017
     Exhibit A-2       Plaintiffs’ Original Petition                        June 7, 2017
                       Citations issued to CBS News Inc; Jim               June 07, 2017
     Exhibit A-3
                       Axelrod; and Emily Rand
                       Return of Service of Citation to CBS News           June 21, 2017
     Exhibit A-4
                       Inc.
                       Defendants’ Answer, Special Exception,               July 7, 2017
     Exhibit A-5       Verified Pleas, and Affirmative Defenses to
                       Plaintiffs’ Original Petition




                                                       1
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EXHIBIT A-1
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              Case Information




              DC-17-06799                         193rd District Court             06/07/2017

              DEFAMATION                          OPEN




              Party


                                                                          Ú
              COCKERELL DERMATOPATHOLOGY PA                 Lead Attorney
              Address                                       TILLOTSON, JEFFREY M
              c/o Jeffrey M. Tillotson                      Retained
              750 N. St. Paul Street, Suite 610
              Dallas TX 75201                               214-382-3040


                                                            214-501-0731




                                                                  Ú
              COCKERELL, CLAY                     Lead Attorney
              Address                             TILLOTSON, JEFFREY M
              c/o Jeffrey M. Tillotson            Retained
              750 N. St. Paul Street, Suite 610
              Dallas TX 75201                     214-382-3040




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                                          214-501-0731




                                                  Ú
              AXELROD, JAMES        Lead Attorney
              Address               PRATHER, LAURA LEE
              51 WEST 52ND STREET   Retained
              NEW YORK NY 10019
                                    512-867-8400


                                    512-867-8470




              CBS NEWS INC

              Address
              BY SERVING REGISTERED AGENT CORPORATION SERVICE COMPANY
              D/B/A LAWYERS INCORPORATING SERVICE COMPANY
              211 E 7TH STREET SUITE 620
              AUSTIN TX 78701-3218


                            Ú
              Lead Attorney
              PRATHER, LAURA LEE
              Retained


              512-867-8400


              512-867-8470




                                                  Ú
              RAND, EMILY           Lead Attorney
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              51 WEST 52ND STREET   Retained
              NEW YORK NY 10019
                                    512-867-8400


                                    512-867-8470




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Details                                                                                    Page 3 of 5

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              Events and Hearings




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                06/21/2017

                ESERVE




                ESERVE 3CITS 17538255/TJ.


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                  CIT EXEC 6/15/17 TO CBS NEWS INC


                                                             Ú




                  & SPECIAL EXCEPTIONS (SUBMITTED)




              Financial


                  Total Financial Assessment                                              $344.00
                  Total Payments and Credits                                              $344.00


               6/8/2017   Transaction                                                    $344.00
                          Assessment

               6/8/2017   CREDIT CARD -        Receipt # 36067-   COCKERELL             ($344.00)
                          TEXFILE (DC)         2017-DCLK          DERMATOPATHOLOGY PA




              Documents




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Details                                                                                    Page 5 of 5

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                CBS

                Ds' Ans SpEx VP & Aff Def.pdf




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EXHIBIT A-2
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  JUN\ 4 Z0\7
  @5:3offl\
       FORM NO. 353-3 - CITATION                                                                                                         ESERVE
       THE STATE OF TEXAS                                                                                                               CITATION
        To: CBS NEWS INC
            BY SERVING ITS REGISTERD AGENT CORPORATION SERVICE COMPANY
            DBA LAWYERS INCORPORATING SERVICE COMPANY                                                                                   DC-17-06799
            211 E 7rn ST STE 620
            AUSTIN TX 78701-3218
                                                                                                                              COCKERELLDERMATOPATHOLOGY
       GREETINGS:                                                                                                                        PA et al
       You have been sued. You may employ an attorney. If you or your attorney do not file a written                                       vs.
       answer with the clerk who issued this citation by I 0 o'clock a.m. of the Monday next following the                         JAMES AXELROD et al
       expiration of twenty days after you were served this citation and ORIGINAL petition, a default
       judgment may be taken against you. Your answer should be addressed to the clerk of the 193rd District
       Court at 600 Commerce Street, Ste. I 0 I, Dallas, Texas 75202.                                                                  ISSUED THIS
                                                                                                                                   9th day of June, 2017
       Said Plaintiff being CLAY COCKERELL; COCKERELL DERMATOPATHOLOGY PA
                                                                                                                                      FELICIA PITRE
       Filed in said Court 7th day of June, 2017 against                                                                            Clerk District Courts,
                                                                                                                                    Dallas County, Texas
       CBS NEWS INC; JIM AXELROD; EMILY RAND

       For Suit, said suit being numbered DC-17-06799, the nature of which demand is as follows:                                 By: TERESA JONES, Deputy
       Suit on DEFAMATION etc. as shown on said petition, a copy of which accompanies this citation. If this
       citation is not served, it shall be returned unexecuted.
                                                                                                                                    Attorney for Plaintiff
       WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.                                              JEFFREY M TILLOTSON
       Given under my hand and the Seal of said Court at office this 9th day of June, 2017.                                          TILLOTSON LAW
                                                                                                                                     750 N ST PAUL ST
       ATTEST: FELICIA PITRE, Clerk of the District Courts of Dallas, County, Texas                                                      SUITE 610
                                                                                                                                     DALLAS TX 75201
                               BY         Isl Teresa Jones
                                                                               , Deputy          ~,,,,,,,mm 1111                        214-382-3040
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                                                                •                                                                DALLAS COUNTY
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                                                                           OFFICER'S RETURN
 Case No. : DC-17-06799

 Court No. l 93rd District Court

 Style: COCKERELL DERMATOPATHOLOGY PA et al

  vs.

 JAMES AXELROD et al

 Came to hand on the                         day of                        , 20           , at                o'clock         .M. Executed at _ _ _ _ _ _ _ _ _ _ _ _ _ ,

 within the County of                                      at                o'clock             .M. on the                   day of_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _,

. 20                    , by delivering to the within named




 each, in person, a true copy of this Citation together with the accompanying copy of this pleading, having first endorsed on same date of delivery. The distance actually traveled by

 me in serving such process was                  miles and my fees are as follows: To certify which witness my hand.



                                   For serving Citation          $_ _~--

                                   For mileage                   $_ __                            of                     County, _ _ _ _ _ _ __

                                   For Notary                     $_ __                           By                                           Deputy

                                                                   (Must be verified if served outside the State of Texas.)

 Signed and sworn to by the said                                     before me this _ _ _day of                               , 20 _ _ _,

 to certify which witness my hand and seal of office.




                                                                                                 Notary Public                     County _ _ _ _ _ _ __
                                                                                                                            FILED
3-ITS ATTY                                                                                                      DALLAS COUNTY
         Case 3:17-cv-01840-B Document 1-1 Filed 07/13/17                     Page 12 of 107 PageID 18        6/7/2017 5:39:34 PM
                                                                                                                   FELICIA PITRE
                                                                                                                DISTRICT CLERK


                                                                                                             Tonya Pointer
                                          CAUSE NO. DC-17-06799


             CLAY COCKERELL and                                 §         IN THE DISTRICT COURT OF
             COCKERELL DERMATOPATHOLOGY,                        §
             P.A.,                                              §
                                                                §
                     Plaintiffs,                                §
                                                                §             DALLAS COUNTY, TEXAS
             v.                                                 §
                                                                §
             CBS NEWS INC; JIM AXELROD; and                     §
             EMILY RAND,                                        §
                                                                §
                     Defendants.                                §           193RD JUDICIAL DISTRICT


                                        PLAINTIFFS' ORIGINAL PETITION


                  Plaintiffs Dr. Clay Cockerell and Cockerell Dermatopathology, P.A. ("CDP," collectively

         with Dr. Cockerell, "Plaintiffs") file this Original Petition against Defendants CBS News, Inc.

         ("CBS"), Jim Axelrod, and Emily Rand (collectively, "Defendants") and would respectfully

         show the Court the following:

                                                   INTRODUCTION

                  This lawsuit is an indictment of modern media's "report first and ask questions later"

         attitude.     In the rush to get something-anything--published first (ideally with a salacious

         h~adline),    CBS and its reporters trampled on the truth. Left in the rubble of their false story was

         Dr. Clay Cockerell and his medical practice, CDP. Dr. Cockerell is one of the Nation's most

         respected dermatologists.       His impeccable reputation was forever tarnished when CBS and

         reporters Jim Axelrod and Emily Rand rushed to report a woefully under-investigated news story

         that implied Dr. Cockerell was a common criminal involved in a horrible scam to defraud

         members of the U.S. military and the Federal Government.




         PLAINTIFFS' ORIGINAL PETITION                                                                  PAGEl
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        CBS's story as it related to Dr. Cockerell and CDP was absolutely false.      Defendants

knew or should have known they were falsely painting Dr. Cockerell as a criminal. But for

them, being first is more important than being right.

       Accordingly, Plaintiffs bring this action against Defendants for defamation and business

disparagement based on a false and misleading news story published by CBS.            Defendants

Axelrod and Rand were the reporters for the story. In Defendants' rush to publish the story and

use the allure of members of the U.S. military being duped, CBS falsely implied that Plaintiffs

were part of a criminal scheme. The truth is, they were not and never have been. Had CBS and

its reporters bothered to conduct reasonable diligence prior to publishing their story, they would

have known that their story was false about Plaintiffs.

       As a result, the news story was intentionally and/or recklessly misleading. Worse, the

story has been devastating to Plaintiffs.     Dr. Cockerell's sterling reputation as a doctor of

impeccable integrity has been forever tarnished.        Meanwhile, CDP's business reputation has

been injured and it has suffered lost business and reputational harm.

       Defendants' story has caused Plaintiffs millions of dollars in damages.       This lawsuit

seeks to hold them accountable for that inexcusable misconduct.

                                   DISCOVERY CONTROL PLAN

       1.      Plaintiffs request a Level 3 discovery control plan.

                                     CLAIM FOR RELIEF

       2.      Plaintiffs seek monetary relief in excess of $100,000,000.

                                            PARTIES

       3.      Dr. Clay Cockerell lives in Dallas, Texas, and is an internationally recognized

dermatologist and dermatopathologist.




PLAINTIFFS' ORIGINAL PETITION                                                              PAGE2
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        4.     Cockerell Derrnatopathology, P.A. is Dr. Cockerell's medical practice, and is   ~lso


located in Dallas, Texas. It is a highly respected labatory that is nationally and internationally

known for its diagnostic excellence and unparalleled service in the evaluation of dermatologic

disorders ranging from the routine to the most difficult cases.

        5.     Defendant CBS News is a national news organization and television broadcaster.

CBS is located at 51 West 52nd Street, New York City, New York 10019, and may be served

with process of service through its registered agent of service, Corporation Service Company,

db/a Lawyers Incorporating Service Company at 21 l E.         ih   Street, Suite 620, Austin, Texas

7870 l-3218.

       6.      Defendant James (Jim) Axelrod is a reporter for CBS News and lives in New

York City, New York and may be served with process of service at 51 West 52nd Street, New .

York City, New York 10019.

       7.      Defendant Emily Rand is a reporter for CBS News and lives in Boston,

Massachussets and may be served with process of service at 51 West 52nd Street, New York City,

New York 10019.

                                   JURISDICTION & VENUE

       8.      This Court has jurisdiction over this dispute, the amount in question being m

excess of the jurisdictional minimum of this Court.

       9.      This Court has personal jurisdiction over the Defendants because they each

engaged in minimum contacts with the State of Texas and exercising jurisdiction over them

would not offend traditional notions of fair play and substantial justice.

        l 0.   This Court may exercise general personal jurisdiction because these Defendants

are engaged in ongoing, systematic, and continuous business in the State of Texas. This Court




PLAINTIFFS' ORIGINAL PETITION                                                                PAGE3
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may also exercise specific personal jurisdiction over Defendants because all or a substantial part

of their acts or omissions giving rise or related to this suit occurred in Dallas County, Texas.

         11.   Venue is appropriate in Dallas County, Texas pursuant to TEX. Civ. PRAC. & REM.

CODE § 15.002(a)(l ), because all or a substantial part of the events or omissions giving rise to

the claims occurred in Dallas County.

         12.   All conditions precedent to Plaintiffs' claims for relief have been performed or

occurred.

                                              FACTS

         13.   Dr. Cockerell is the former president of the American Academy of Dermatology

and internationally recognized dermatologist and dermatopathologist, and is universally

considered both a pioneer and a leader in his field. He is highly respected in his profession and

extremely accomplished. He is a former president of the American Academy of Dermatology

and is the recipient of numerous honors and awards.        Until Defendants ran their stories, Dr.

Cockerell had a pristine record and had never been accused of improper billing conduct.

         14.   Dr. Cockerell joined CDP's predecessor in 1988 before ultimately taking over and

renaming the practice to its current name. CDP offers diagnostic excellence and unparalleled

service in the evaluation of dermatologic disorders ranging from the routine to the most difficult

cases.    Its core business is dermatopathology, which refers to evaluation of skin biopsy

specimens.

         15.   Until Defendants ran their false story, Dr. Cockerell and CDP had an impeccable

reputation for integrity and honesty. Dr. Cockerell had been accorded many honors during his

professional career, and had the respect of his peers and the professional community. Indeed, as




PLAINTIFFS' ORIGINAL PETITION                                                                 PAGE4
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a testament to Dr. Cockerell's and CDP's excellence and reputation, CDP serves more than

1,300 doctors from across Dallas-Fort Worth, Texas, the United States and abroad.

Defendants' Initial False News Story.

        16.    On June 8, 2016, CBS News ran a story in which it claimed "CBS News is

exposing an insurance scam -- and you, as a taxpayer, are a victim." The story was entitled "US

military members duped to help pull off insurance fraud."              It was published online and

shown on television.

        17.    The reporters for the CBS story were Jim Axelrod and Emily Rand.

        18.    The initial focus of the story was on some individuals who were duping veterans

into giving specimens for what they claimed was clinical research.           As part of its story,

Defendants interviewed an individual named Dustin Warren, who explained how the marketing

"scam" supposedly worked.       Had Defendants concentrated their story on that conduct, this

lawsuit would not have been filed.

        19.    However, Defendants obviously wanted to make the news story even more

salacious.

       20.     Without proper investigation or diligence, CBS and the other Defendants went on

to portray inaccurately that "[t]he tests are conducted and billed by a lab in Dallas, Cockerell

Dermatopathology," implying that CDP did the actual testing and ran the lab. As set out below,

this was not true. Had CBS and the Defendants performed a reasonable vetting of their story,

they would have learned that their statements were patently untrue. Defendants were, therefore,

reckless with regard to the truth about Plaintiffs in the CBS story.

       21.     Defendants' story then portrayed the fraudulent conduct as something being done

by CDP and Dr. Cockerell. The story further implied that CDP was setting up "a storefront"




PLAINTIFFS' ORIGINAL PETITION                                                               PAGE5
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near Fort Hood in order to dupe other members of the U.S. military. Defendants knew or should

have known that these statements were false and created a false impression.

       22.     In order to pitch the story as "uncovering fraud on US military personnel," CBS

and its reporters rushed to make these untrue statements.

       23.     The overall impression of CBS' story was false because it falsely implied that Dr.

Cockerell and CDP were involved in some sort of criminal activity.            This was entire(v,

completely, and totally untrue.

       24.     Defendants failed to conduct proper due diligence before going forward with their

news story. They failed to interview all the relevant players (including, most egregiously, either

Dr. Cockerell or any other member of CDP); failed to learn all the key and necessary facts; and

overall failed to do their jobs as reporters and a responsible news organization. Had they done

so, the story would not have falsely implied that Plaintiffs were engaged in criminal conduct.

       25.     Unfortunately, as is all too common in today's media culture (and as Defendants

knew and even, upon information and belief, intended would happen), CBS' story was

republished and cited by other news sources. This caused extreme damage to Plaintiffs.

The True Facts that CBS Did Not Report.

       26.     Defendants' initial story was false several ways.        First and foremost, Dr.

Cockerell was not aware of any of the improper conduct portrayed in the CBS story. He did not

direct or supervise the individuals allegedly involved in the scheme. He did not hire them, speak

to them, or receive reports from them. In fact, he did not even know them, and thus was unaware

of any of their actions. Dr. Cockerell did not condone or encourage their conduct.




PLAINTIFFS' ORIGINAL PETITION                                                              PAGES
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           27.   The individuals who allegedly engaged in improper conduct as outlined in the

CBS story were affiliated with a company called ProGen, which is the laboratory business that

performed the diagnostic testing.

           28.   Far from being part of some criminal activity, Dr. Cockerell was outraged when

he learned of the improper conduct described in CBS' news story. However, like the servicemen

and -women and the government, he, too, was duped because he was not aware of the wrongful

actions.

        29.      Defendants did not report any of the above.     Instead, they created an entirely

misleading impression that Dr. Cockerell was orchestrating the fraud through and with CDP.

       30.       The story did not even mention ProGen, much less its role.

       31.       Defendants' story simply blended the fraudulent conduct (misleading veterans

into giving samples by telling them it was for clinical research and then passing off those

samples as legitimate for purposes of testing and billing) with actual legitimate laboratory

testing. The former has nothing to do with Dr. Cockerell or CDP, as he was not aware of--much

less involved with---any improper conduct. Defendants, however, merged the two and unfairly

and inaccurately portrayed Dr. Cockerell as part of the marketing scam. It would be as if CBS

ran a story blaming VISA for the wrongful behavior of an internet scamster simply because it

processed the credit card transaction in good faith.

       32.       Dr. Cockerell was outraged when he learned of the alleged fraudsters' improper

conduct. He immediately disavowed it and has undertaken steps to ensure that the wrongdoers

are suitably held accountable for their actions. Of course, Defendants did not report this in their

story. Instead, they sought to portray Dr. Cockerell as being untruthful or dishonest in his effort

to disavow the wrongful conduct.




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        33.    Moreover, the CBS News story did not properly report the true relationship (or

lack thereof) between Dr. Cockerell and the individuals actually involved in the wrongdoing.

Instead, the story selectively reported general but misleading statements such as "it is his lab," so

as to imply that Dr. Cockerell was involved with the wrongful conduct. Again, he was not.

       34.     Defendants never reported on his denials nor did they explain to their millions of

readers and viewers that Dr. Cockerell and CDP were not (and have not been) accused of any

wrongdoing and have no connection to those who were undertaking improper actions. Similarly,

Defendants did not report on Dr. Cockerell' s vehement efforts to assist holding the fraudsters

accountable for their actions.

       35.     CBS ranwhat it billed C!Sa ','.f6-11()w'."i.ip'-' stofrthe next day on June 9, 2016. While
                                       :,·   ~:   :   .~·      ·~·:·.:··




the overall focus of the follow-up story was on the subject matter of the U.S. military being

scammed in general, Dr. Cockerell and CDP were again mentioned. The overall impression

given by the follow up story was the same as the original story: that Dr. Cockerell and CDP were

engaged in a fraudulent insurance scam.

CBS's False News Stories Caused Plaintiffs Enormous Damages.

       36.     Defendants' stories have been devastating to Dr. Cockerell and his business. His

reputation is forever tainted by the stories, which are still available on the CBS website at

http://www.cbsnews.com/news/us-military-members-duped-to-help-pull-off-insurance-fraud/

(June 8, 2016 initial story) and http://www.cbsnews.com/news/feds-investigating-insurance-

fraud-that-duped-us-military-members/ (June 9, 2016 follow-up story).              Worse, others in the

professional community have treated him differently and in some cases shunned him, believing,

based on Defendants' stories, that he was involved in criminal conduct.




PLAINTIFFS' ORIGINAL PETITION                                                                     PAGES
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       37.     CDP has suffered as well. Trusted and loyal customers are now wary of doing

further business with CDP, wrongly believing that it was engaged in some .sort Of fraud.

Competitors are also using the false news stories to further harm CDP's reputation.

       38.     CDP has lost significant business as a result.

       39.     Further, Plaintiffs have had to spend enormous sums in attorney's fees and other

costs to address the various fallout from Defendants' false new story.

                                     CAUSES OF ACTION

                                 FIRST CAUSE OF ACTION
                                         (LIBEL)

       40.     Plaintiffs incorporate by reference the allegations set forth m each of the

preceding paragraphs as though they were set forth herein.

       41.     As described above, Defendants published and/or republished statements to the.

public about Dr. Cockerell and CDP that were false, misleading, and defamatory, in that those

statements indicated and presented the false impression (including by omitting material facts and .·

falsely juxtaposing others) that Plaintiffs were involved in a criminal scheme to defraud the

Federal Government and/or members of the U.S. military.

       42.     Defendants made those statements with knowledge of their falsity or with reckless

disregard for their truth, or at least with negligence because Defendants should have known the

statements were false.

       43.     Such statements are so obviously harmful that they constitute defamation per se.

       44.     Indeed, Defendants' false, misleading, and defamatory statements caused

extensive damages to Plaintiffs by injuring their personal and business reputations and deterring

others from associating or dealing with Plaintiffs, costing them many millions of dollars. In




PLAINTIFFS' ORIGINAL PETITION                                                               PAGE9
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addition, Plaintiffs were forced to incur significant sums in attorney's fees to address the various

issues caused by Defendants' false statements.

        45.     Plaintiffs seek to recover actual and exemplary damages from Defendants.

                                 SECOND CAUSE OF ACTION
                                (B c!SINESS DISPARAGEMENT)

        46.     Plaintiffs incorporate by reference the allegations set forth in each of the

preceding paragraphs as though they were set forth herein.

        47.     Defendants published false and disparaging statements about CDP in their new

stories, as described above.

       48.      As set forth above, Defendants made their false statements without conducting

any remotely adequate due diligence or investigation, and as such, made those statements

knowing of their falsity or with reckless disregard for the truth.

       49.      Defendants' false statements were not privileged.

        50.     Defendants' news stories have damaged CDP in its business dealings, including

by causing existing and prospective patients and doctors to use different practices, rather than

CDP.

        51.     As a direct result, CDP has suffered significant economic damages that exceed $1

million, including the loss of both existing and prospective patients.

       52.     CDP seeks to recover actual damages and exemplary damages.




PLAINTIFFS' ORIGINAL PETITION                                                               PAGE 10
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                                          JURY DEMAND

        Plaintiffs hereby de.mand <l trial by jury.

                                              PRAYER

       For the reasons set forth above, Plaintiffs hereby request that this Court award the

following relief:

                a.      Actual damages, including direct and s;onsequential damages;

                b.      Exemplary damages;

                c.      Prejudgment and post-judgment interest;

                d.      Reasonable and necessary attorneys' fees incurred through the trial of this
                        cause and through any appeal, including reasonable and necessary
                        attorneys' and expert witness fees and expenses actually incurred by
                        Plaintiffs as a result of prosecuting these claims against Defendants;

                e.      Costs of court; and

                f.      All other relief at law or in equity to which Plaintiffs are justly entitled.

DATED: June 7, 2017

                                                Respectfully submitted,

                                                Isl Jeffrey M Tillotson
                                                Jeffrey M. Tillotson
                                                State Bar No. 20039200
                                                jtillotson@tillotsonlaw.com
                                                Jonathan R. Patton
                                                State Bar No. 24088198
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                                                750 North St. Paul Street, Suite 610
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                                                (214) 382-3041 Telephone
                                                (214) 501-0731 Facsimile
                                                ATTORNEYS FOR PLAINTIFFS




PLAINTIFFS' ORIGINAL PETITION                                                                   PAGE 11
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EXHIBIT A-3
FORM NO. 353-3 - CITATION                                                                                            ESERVE
THE STATE OF TEXAS                                                                                                  CITATION
To: CBS NEWS INC
    BY SERVING ITS REGISTERD AGENT CORPORATION SERVICE COMPANY
                                                                                                                   DC-17-06799
    DBA LAWYERS INCORPORATING SERVICE COMPANY
    211 E 7TH ST STE 620
    AUSTIN TX 78701-3218
                                                                                                        COCKERELL DERMATOPATHOLOGY
GREETINGS:                                                                                                         PA et al
You have been sued. You may employ an attorney. If you or your attorney do not file a written                        vs.
answer with the clerk who issued this citation by 10 o'clock a.m. of the Monday next following the           JAMES AXELROD et al
expiration of twenty days after you were served this citation and ORIGINAL petition, a default
judgment may be taken against you. Your answer should be addressed to the clerk of the 193rd District
Court at 600 Commerce Street, Ste. 101, Dallas, Texas 75202.                                                       ISSUED THIS
                                                                                                               9th day of June, 2017
Said Plaintiff being CLAY COCKERELL; COCKERELL DERMATOPATHOLOGY PA
                                                                                                                  FELICIA PITRE
Filed in said Court 7th day of June, 2017 against                                                               Clerk District Courts,
                                                                                                                Dallas County, Texas
CBS NEWS INC; JIM AXELROD; EMILY RAND

For Suit, said suit being numbered DC-17-06799, the nature of which demand is as follows:                    By: TERESA JONES, Deputy
                                                                                                                                            Case 3:17-cv-01840-B Document 1-1 Filed 07/13/17




Suit on DEFAMATION etc. as shown on said petition, a copy of which accompanies this citation. If this    ________________________________
citation is not served, it shall be returned unexecuted.
                                                                                                                Attorney for Plaintiff
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.                                 JEFFREY M TILLOTSON
Given under my hand and the Seal of said Court at office this 9th day of June, 2017.                             TILLOTSON LAW
                                                                                                                 750 N ST PAUL ST
ATTEST: FELICIA PITRE, Clerk of the District Courts of Dallas, County, Texas                                         SUITE 610
                                                                                                                DALLAS TX 75201
                                   /s/ Teresa Jones
                        By__________________________________, Deputy                                                214-382-3040
                             TERESA JONES
                                                                                                                                            Page 24 of 107 PageID 30
                                                                       OFFICER'S RETURN
Case No. : DC-17-06799

Court No.193rd District Court

Style: COCKERELL DERMATOPATHOLOGY PA et al

vs.

JAMES AXELROD et al

Came to hand on the ________________day of __________________, 20_________, at __________o'clock_________.M. Executed at ______________________________,

within the County of __________________________ at ____________ o'clock _______ .M. on the ________________day of_________________________________________,

20_______________, by delivering to the within named

____________________________________________________________________________________________________

____________________________________________________________________________________________________________

each, in person, a true copy of this Citation together with the accompanying copy of this pleading, having first endorsed on same date of delivery. The distance actually traveled by

me in serving such process was _________miles and my fees are as follows: To certify which witness my hand.



                                For serving Citation        $__________                    _______________________________________________
                                                                                                                                                                                        Case 3:17-cv-01840-B Document 1-1 Filed 07/13/17




                                For mileage                  $__________                   of__________________County, ____________________

                                For Notary                   $__________                    By______________________________________Deputy

                                                               (Must be verified if served outside the State of Texas.)

Signed and sworn to by the said__________________________before me this_______day of _____________________, 20_______,

to certify which witness my hand and seal of office.


                                                                                          _____________________________________________________

                                                                                          Notary Public___________________County_________________
                                                                                                                                                                                        Page 25 of 107 PageID 31
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EXHIBIT A-4
                                                                                                                                                       FILE
                                                                                                                                           DALLAS COUNT
                                                                                                                                          6/21/2017 12:35 P
                                                                                                                                              FELICIA PITR
                                                                                                                                            DISTRICT CLER


                                                                                                                          Dianne Coffey


FORM NO. 353-3 - CITATION                                                                                          ESERVE

THE STATE OF TEXAS                                                                                                CITATION

To: CBS NEWS INC
      BY SERVING ITS REGISTERD AGENT CORPORATION SERVICE COMPANY
                                                                                                                  DC-17-06799
      DBA LAWYERS INCORPORATING SERVICE COMPANY
     211 E 7^' ST STE 620
     AUSTIN TX 78701-3218
                                                                                                        COCKERELL DERMATOPATHOLOGY
                                                                                                                     PA et al
GREETINGS:
                                                                                                                        vs.
You have been sued. You may employ an attorney. If you or your attorney do not file a written
                                                                                                             JAMES AXELROD et al
answer with the clerk who issued this citation by 10 o'clock a.m. of the Monday ne.xt following the
expiration of twenty days after you were served this citation and ORIGINAL petition, a default
judgment may be taken against you. Your answer should be addressed to the clerk of the I93rd District
                                                                                                                 ISSUED THIS
Court at 600 Commerce Street, Ste. 101, Dallas, Texas 75202.
                                                                                                              9th day of June, 2017
Said PlaintifTbeing CLAY COCKERELL; COCKERELL DERMATOPATHOLOGY PA
                                                                                                                FELICIA PITRE
                                                                                                              Clerk District Courts,
Filed in said Court 7th day of June, 2017 against
                                                                                                              Dallas County, Texas
CBS NEWS INC; JIM AXELROD; EMILY RAND

                                                                                                           By: TERESA JONES, Deputy
                                                                                                                                                  Case 3:17-cv-01840-B Document 1-1 Filed 07/13/17




For Suit, said suit being numbered DC-17-06799. the nature of which demand is as follows:
Suit on DEFAMATION etc. as shown on said petition, a copy of which accompanies this citation. If this
citation is not served, it shall be returned unexecuted.
                                                                                                              Attorney for Plaintiff
                                                                                                            JEFFREY M TILLOTSON
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Te.xas.
                                                                                                               TILLOTSON LAW
Given under my hand and the Seal of said Court at office this 9th day of June, 2017.
                                                                                                               750 N ST PAUL ST
                                                                                                                   SUITE 610
ATTEST: FELICIA PITRE, Clerk of the District Courts of Dallas, County, Texas
                                                                                                               DALLAS TX 75201
                                     /s/Teresa Jones
                                                                                                                  214-382-3040
                         By                                          ..Depmy
                                TERESAJONES                                     <04,^-
                                                                                                                                                  Page 27 of 107 PageID 33




                                                                                                            DALLAS COUNTY
                                                                                                             SERVICE FEES
                                                                                                                 NOT PAID
                          Case 3:17-cv-01840-B Document 1-1 Filed 07/13/17                                          Page 28 of 107 PageID 34
                                                                                                                                                                                        '1




                                                                         OFFICER'S RETURN
Case No.: DC-17-06799

Court No. I93rd District Court

Style: COCKERELL DERMATOPATHOLOGY PA et al

vs.

JAMES AXELROD et al

Came to hand on the        j   Y+h         day of       J J1.ne_,        ,20_[]_        , at   5   :3D o'clock___f_         .M. Executed at _ _ _ _ _ _ _ _ _ _ _ _,

within the County of                                     at                o'clock             .M. on the                   day of_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _,

20                     , by delivering to the within named




each, in person, a true copy of this Citation together with the accompanying copy of this pleading. having first endorsed on same date of delivery. The distance actually trnveled by
me in serving such process was                 miles and my fc:es are as follows: To certify which witness my hand.



                                 For serving Citation

                                 For mileage                                                       _ _ _ _ County
                                                                                                By                           • ----
                                 For Notary
                                                                                                   ,~==-:---==--------
                                                                 (Must be verified if served outside the Stale of Texas.)
                                                                                                                                          -De1luty


Signed and sworn to by the said                                    before me this _ _ _day of                               • 20_ _ _•

to certify which witness my hand and seal of office.




                                                                                               Notary Public                     County_ _ _ _ _ __
          Case 3:17-cv-01840-B Document 1-1 Filed 07/13/17                             Page 29 of 107 PageID 35
                                  RETURN OF SERVICE

                                                 Cause No. DC-17-06799

                                          In the l 93rd Judicial District Court of
                                                   Dallas County, Texas

CLAY COCKERELL, et al
     Plaintiff
v.
CBS NEWS INC., et al
      Defendant

Came to hand on June 14, 2017, at 05:30 PM.

Executed at 211 E. 7th Street, Suite 620, Austin, TX 78701, within the County of Travis at 9:05 AM on
June 15, 2017, by delivering to the within named:

                                                     CBS NEWS INC.,

by delivering to its Registered Agent, CORPORATION SERVICE COMPANY d/b/a CSC-
LAWYERS INCORPORATING SERVICE COMPANY, by and through its designated agent, SUE
VERTREES, a true copy of this Citation together with Plaintiffs' Original Petition, having first
endorsed upon such copy of such process the date of delivery.
I certify that I am approved by the Supreme Court of Texas, Misc. Docket No. 05-9122 under rule 103 and 536(a) of the TRCP to
deliver citations and other notices from any District, County, and Justice Courts in and for the State of Texas. I am competent to
make this oath; I am not less than 18 years of age, I am not a party to the abov&referenced cause, I have not been convicted of a
felony or a crime involving moral turpitude, and I am not interested in di;::tcome of di~


                                                                             Thomas R. Kro 1 SCH-3012,
                                                                             Exp: 8/31/2019

                                                       VERIFICATION
STATE OF TEXAS                 §
COUNTY OF TRAVIS               §

        BEFORE ME, A NOTARY PUBLIC, on this day personally appeared Thomas R. Kroll, known to me to be the person
whose name is subscribed to the foregoing document and, being by me first duly sworn, declared that the statements therein
contained are true and correct.
        Given under my hand and seal of office this June 15, 2017.




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                                                                                                           HELEN LUPERCIO
                                                                                         ~'! j;.A;~'! Nolorv Public, Stole or Texas
                                                                                         =~._   J\r..- .. E
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                                                                                          ~,,~C"OF1t;:t.'"
                                                                                            ''''""'"''         Notary ID l 3042992 7
Case 3:17-cv-01840-B Document 1-1 Filed 07/13/17   Page 30 of 107 PageID 36




EXHIBIT A-5
                                                                                                                  FILED
                                                                                                      DALLAS COUNTY
                                                                                                       7/7/2017 1:17 PM
  Case 3:17-cv-01840-B Document 1-1 Filed 07/13/17                 Page 31 of 107 PageID 37              FELICIA PITRE
                                                                                                      DISTRICT CLERK



                                   CAUSE NO. DC-17-06799

CLAY COCKERELL and                                     §     IN THE DISTRICT COURT OF
COCKERELL DERMATOPATHOLOGY,                            §
P.A.,                                                  §
                                                       §
       Plaintiffs,                                     §
                                                       §
V.                                                     §     DALLAS COUNTY, TEXAS
                                                       §
CBS NEWS INC; JIM AXELROD; and                         §
EMILY RAND,                                            §
                                                       §
       Defendants.                                     §     193RD JUDICIAL DISTRICT

     DEFENDANTS’ ANSWER, SPECIAL EXCEPTIONS, VERIFIED PLEAS, AND
        AFFIRMATIVE DEFENSES TO PLAINTIFFS’ ORIGINAL PETITION

       COME NOW Defendants, CBS News Inc. (“CBS”), Jim Axelrod (“Axelrod”), and Emily

Rand (“Rand”) (collectively “Defendants”) and file their Original Answer, Special Exceptions,

Verified Pleas, and Affirmative Defenses to Plaintiffs’ Original Petition (the “Petition”).

                                         I.
                           INTRODUCTION AND BACKGROUND

       On    June    7,   2017,   Plaintiffs,   Clay   Cockerell   (“Cockerell”)   and    Cockerell

Dermatopathology, P.A. (“CDP”) (collectively, “Plaintiffs”), filed suit against Defendants in

Dallas County alleging that certain CBS News reports of June 8, 2016 (“June 8, 2016 Report”)

and June 9, 2016 (“June 9, 2016 Report”) (collectively referred to herein as the “Reports”) were

defamatory and constituted business disparagement.

A.     CBS News Reports About a Multimillion Dollar Insurance Scam

       The June 8, 2016 Report, which aired during “The CBS Evening News” and was posted

online, exposed a multimillion dollar insurance scam operating out of multiple storefront

locations in Killeen, Texas targeting military families who were insured by Tricare military

insurance and others. See June 8, 2016 Report titled “U.S. military members duped to help pull


                                                  1
    Case 3:17-cv-01840-B Document 1-1 Filed 07/13/17                         Page 32 of 107 PageID 38


off insurance fraud” published on CBS website, a true and correct copy of which is attached

hereto as Exhibit 1. As reported, the families were induced to submit DNA and blood samples

(which at least some were led to believe would be used for clinical research) in return for Wal-

Mart gift cards. Id. As the June 8, 2016 Report noted, rather than clinical research, the samples

were submitted for unnecessary and expensive screenings, including screenings for drugs like

PCP, cocaine, and methadone. Id. CBS News further reported that CDP reportedly took an

active role in conducting the tests and billing Tricare for more than $5 million. Id. Further, as

reported, Cockerell’s Clinical Laboratory Improvement Amendments (“CLIA”) 1 number was

used to bill these tests to the insurance companies. Id. The testing was done through a company

named OriGen Laboratories (“OriGen” or “OriGen Laboratories”), but that is merely a d/b/a for

CDP and Cockerell was, in fact, the owner of OriGen.                   See Assumed Name Filing for CDP,

Abandonment of Assumed Name Certificate for Origen by CDP, and Withdrawal of Assumed

Name Certificate for OriGen listing Cockerell as the owner, true and correct copies of which are

attached hereto as Exhibits 2a, 2b and 2c (“Exhibit 2”). The June 8, 2016 Report included an

interview of a patient who received a number of $50 gift cards in exchange for submitting her

samples and also detailed the fact that Defendants discovered numerous documents with highly

sensitive personal information, including social security numbers, medical information, and

photocopies of military identification cards, as well as DNA specimens, discarded in the shed by

one of the storefronts. See Exhibit 1.

        On June 9, 2016, Defendants aired a second Report, which also aired during “The CBS

Evening News” and was posted online, which discussed the larger problem with unnecessary


1
  Labs that receive Medicare or Medicaid payments must be properly certified through the Clinical Laboratory
Improvement Amendments (“CLIA”). The Centers for Medicare and Medicaid Services state that “[t]he objective
of the CLIA program is to ensure quality laboratory testing” and that the program covers more than 250,000 entities.
See https://www.cms.gov/Regulations-and-Guidance/Legislation/CLIA/index.html?redirect=/CLIA/.

                                                         2
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medical testing at government expense, and reported that the government was investigating the

fraudulent conduct. See June 9, 2016 Report titled “Feds investigating insurance fraud that

duped U.S. military” published on CBS website, a true and correct copy of which is attached

hereto as Exhibit 3.         The June 9, 2016 Report included interviews with personnel from the

Pentagon and other investigators with the Department of Defense. Id. The June 9, 2016 Report

reiterated the concern that CDP had billed Tricare millions of dollars for what appeared to be

largely unneeded, and costly, drug testing. See id.

         Defendants reached out to Plaintiffs on numerous occasions while they were conducting

their investigation. They requested an interview with Cockerell many times to afford Plaintiffs

an opportunity to respond to the allegations that had been uncovered during the investigation.

Cockerell initially stated during an on-camera interview, a portion of which appeared in the June

8, 2016 Report, that he runs a dermatopathology lab (referring to CDP), but that he does not own

the genetic testing lab in question in the Reports. 2 See Exhibit 1. Significantly, he conceded

during the on-camera interview that the genetic testing lab in question used his contracts, but he

again denied “running that lab.” 3 Id. Cockerell was also asked about the use of his CLIA license

number for billing purposes; that question went unanswered. Id. The brief interview was

conducted outside CDP in Dallas after requests for a more formal and lengthier interview were

denied. In response to a number of specific questions directed to Plaintiffs, Plaintiffs ultimately

admitted that some individuals may have operated “outside of the organization’s strict

compliance requirements.” Id.




2
  Defendants repeatedly asked for a more extensive interview with Cockerell, both before and after the brief on
camera encounter. Despite repeated requests, Cockerell never made himself available for an interview regarding the
alleged improper conduct.
3
  This is contrary to prior statements made by Plaintiffs and to the corporate filings of Plaintiffs. See e.g., Exhibit 2.

                                                            3
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B.      Plaintiffs’ evolving story

        Throughout the CBS News investigation and following the Reports, Plaintiffs engaged in

an odd pattern of communications attempting to explain who was responsible for the alleged

wrongful conduct and what connection Plaintiffs had with the responsible party. Prior to the

Reports airing, Plaintiffs admitted to doing business as OriGen. Later, Plaintiffs referred to

having a vague “relationship” with OriGen but attempted to completely distance themselves

from the alleged wrongful conduct by asserting that OriGen was solely responsible for the

questionable tactics. Of course, this assertion ignored the fact that OriGen was operating as a

d/b/a of CDP. See Exhibit 2. As the investigation continued and after the Reports aired,

Plaintiffs began assigning blame to ProGen Lab Systems, LLC (“ProGen”). Pro-Gen is a third-

party management group, established by Cockerell’s nephew, Quintan Cockerell, which also

holds a d/b/a for OriGen Laboratories 4 and which allegedly oversaw and managed some of the

testing that occurred at the various laboratories. In the Petition, Plaintiffs now blame ProGen for

the questionable testing. 5

        Plaintiffs’ first statement following the June 8, 2016 Report and titled “In response to the

CBS News story that aired on June 8, 2016” is just one of many inconsistent statements made

regarding who was to blame for the alleged wrongdoing. The statement appeared on the CDP

website for a short time before being taken down. See June 8, 2016 statement titled “In response

to the CBS News story that aired on June 8, 2016,” a true and correct copy of which has been

obtained through the internet archive website www.waybackmachine.com and is attached hereto

as Exhibit 5. The statement acknowledged, however, that CDP has “relationships” with OriGen

4
  See Assumed Name Filings for ProGen and ROAM Details for same (ProGen), true and correct copies of which
are attached hereto as Exhibits 4a, 4b and 4c (“Exhibit 4”).
5
  See Plaintiff’s Petition, p. 7 (“The individuals who allegedly engaged in improper conduct as outlined in the CBS
story were affiliated with a company called ProGen, which is the laboratory business that performed the diagnostic
testing.”).

                                                        4
    Case 3:17-cv-01840-B Document 1-1 Filed 07/13/17                        Page 35 of 107 PageID 41


and that OriGen is owned by Cockerell. Id. The statement further stated that Cockerell oversaw

and managed the anatomic and dermatopathology testing performed at CDP and that ProGen

oversaw and managed the molecular, genomics and toxicology testing.                          Id.   Finally, the

statement claimed that CDP and OriGen had taken “immediate action, including terminating

individuals and relationships with those that acted in violation of the laboratory’s compliance

policies.” Id.

        Plaintiffs next published a “Statement of Clarification,” dated July 11, 2016, and posted

the statement on their website. See July 11, 2016 Statement of Clarification, a true and correct

copy of which is attached hereto as Exhibit 6. In the “Statement of Clarification,” Plaintiffs

again acknowledged that they had a “relationship” with OriGen and that OriGen was “operated

by ProGen, a third-party lab manager.” Id. The “Statement of Clarification” failed, however, to

provide any further clarification regarding Plaintiffs’ “relationship” with OriGen. Id. The

“Statement of Clarification” also shifted the blame, for the first time, from Plaintiffs and OriGen

to ProGen. Id. (noting that ProGen was the entity associated with “individuals operating outside

of the company’s compliance procedures” and the entity that took “immediate action” in

response).

        A letter posted by Cockerell 6 in response to an online article regarding the Reports only

adds to the confusion.         See August 24, 2016 Online Report and Comments titled “Texas

Dermatopathology Laboratory Under Fire for Genetic Testing Scheme Targeting Soldiers Near

Fort Hood” published on the Dark Daily website, a true and correct copy of which is attached

hereto as Exhibit 7.7 The letter stated that Cockerell had a “business relationship” with OriGen


6
  The letter, which is on pages 6-7, starts out “Dear Colleague, This is Clay Cockerell, MD and the following is a
synopsis . . ..”
7
  The Dark Daily website report also quotes from part of the since-removed June 8, 2016 CDP Statement that is
attached hereto as Exhibit 5.

                                                        5
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before admitting that OriGen “operates in the building where we work and does molecular

pathology, genomics and other diagnostic testing that is managed by a third party lab

management company.” Id. at p. 6. The letter also stated that Cockerell believed that OriGen

had hired the “outside sales reps” that were “responsible for the scheme.” Id. Finally, the letter

acknowledged that OriGen used Cockerell’s CLIA certificate and contracts. Id. 8

         Thus, Cockerell and CDP originally admitted to doing business as OriGen prior to the

airing of the June 8, 2016 Report, but shortly thereafter attempted to disassociate themselves

from OriGen before again acknowledging a vague “relationship” with OriGen and stating that

OriGen was run by a rogue third-party lab manager, ProGen, who is now to blame for the alleged

activities. In any event, all of these after-the-fact assertions are inconsistent with the corporate

documents on file with the Secretary of State’s office and Dallas County and appear to be

calculated to obfuscate the relationship between the companies owned by Plaintiffs and his

nephew. See Exhibits 2 and 4.

C.       Sworn statements by Dr. Cockerell and others reveal the interrelatedness of the
         various entities

         While Cockerell and CDP have attempted to distance themselves from ProGen and the

alleged wrongdoing, records on file with the Texas Secretary of State and Dallas County show

that neither Cockerell nor CDP can plausibly maintain that they had no involvement with either

ProGen or OriGen. Filings with Dallas County and the Secretary of State, sworn to and/or

acknowledged         by     both     Cockerell       and       his   nephew,      show     that    both     Cockerell

Dermatopathology and ProGen operated under the assumed name of OriGen Laboratories at all

times relevant to this action. See, e.g., Exhibit 2b; Exhibit 2c; Exhibit 4a; Exhibit 4b. Clay


8
 In response to this letter, at least four different people posted comments on the bulletin board attached to the online
article detailing unexpected bills they received from Defendants after providing specimens for testing. Exhibit 7, pp.
7-9.

                                                           6
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Cockerell was listed as an owner of OriGen Laboratories at all times relevant to this action. 9 See

Exhibit 2b; Exhibit 2c. Filings with the Texas Secretary of State likewise confirm that CDP and

ProGen operated under the name OriGen Laboratories at all times relevant to this action. See

Exhibits 2, 4, and Business Organizations Overview of CDP, a true and correct copy of which is

attached hereto as Exhibit 8.

        Moreover, these public filings indicate that CDP and ProGen, operating under the name

OriGen Laboratories, each shared the office address currently occupied by CDP. Compare

Exhibit 4b (listing office address for ProGen, with assumed name OriGen, as 2110 Research

Row, Suite 100, Dallas, TX 75235) with Exhibit 8 (listing office address for CDP, with assumed

name OriGen, as 2110 Research Row, Suite 100, Dallas, TX 75235). Clay Cockerell’s position

as owner of OriGen and the registered agent for CDP d/b/a OriGen and the signature of

Cockerell’s nephew, Quintan, on the Assumed Name Filing for ProGen removes any doubt as to

whether the companies enjoyed strong ties with one another. See Exhibit 2; Exhibit 4.

D.      The evidence shows that the Reports are substantially true and did not cause harm
        to Plaintiffs

        These significant connections between the companies belie Cockerell’s and CDP’s denial

of a relationship with the individuals they now claim were the real wrongdoers.

        •   First and foremost, Cockerell admitted during an on-camera interview that the
            labs in question used Cockerell’s contracts. See Exhibit 1.

        •   Second, Cockerell’s CLIA license number was used to submit the specimens
            and process the billing of the unneeded tests. See Exhibit 7.

        •   Third, according to the official documents filed with the Dallas County Clerk,
            Plaintiff Clay Cockerell is listed as an owner of OriGen Laboratories. See
            Exhibit 2c.

        •   Fourth, filings with Dallas County and the Texas Secretary of State clearly
9
  Interestingly, as seen by the Withdrawal of Assumed Name Certificate for OriGen, after the Reports aired,
Plaintiffs opted to abandon the use of the name OriGen Laboratories. See Exhibit 2b; Exhibit 2c.

                                                    7
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                 show that Cockerell, CDP, and ProGen each did business as OriGen
                 Laboratories at all times relevant to this action. See Exhibit 2; Exhibit 4.

            •    Finally, both CDP and ProGen shared the same office, specifically 2110
                 Research Row, Suite 100, Dallas, Texas 75235. See Exhibit 4b; Exhibit 8.

Cockerell and CDP, therefore, cannot state that they did not have any connection to OriGen and

ProGen, the companies they now claim were associated with the individuals that committed the

alleged wrongful actions discussed in the Reports.

            CDP and Cockerell’s assertion that Defendants acted in a rush to judgment rings equally

hollow given Defendants’ attempts to seek an interview with Cockerell, the doctor whose CLIA

number was used for the billing to the insurance companies and whose contracts were admittedly

used to operate the labs involved. Cockerell refused to provide an opportunity for a meaningful

on-camera interview. Thus, Cockerell cannot now credibly argue that Defendants took a “report

first and ask questions later” 10 approach to the Reports given his decision not to actively

participate in the process.

            Finally, the June 8, 2016 Report and June 9, 2016 Report are not the first publications to

question the business practices of CDP and OriGen. Plaintiff CDP has an “F” rating with the

BBB based, in part, on consumer complaints for billing issues and a patient that claims not to

have had any knowledge that CDP would conduct a test on his specimen. See BBB Business

Profile for CDP, a true and correct copy of which is attached hereto as Exhibit 9. Similarly,

OriGen has a rating of “D+” with the BBB based, in part, on a complaint for the alleged failure

to pay another laboratory for services rendered. See BBB Business Profile for OriGen, a true and

correct copy of which is attached hereto as Exhibit 10. While Plaintiffs claim to have a self-




10
     See Plaintiffs’ Petition, p. 1.

                                                    8
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described “sterling reputation,” 11 these ratings indicate that the reputation of CDP and its

associated company, OriGen, were not nearly as pristine as they would have this Court believe. 12

                                                 II.
                                           GENERAL DENIAL

         Pursuant to Rule 92 of the Texas Rules of Civil Procedure, Defendants generally deny

each and every allegation contained in Plaintiffs’ Original Petition and demand strict proof

thereof. Defendants reserve the right to file amended pleadings in accordance with the Texas

Rules of Civil Procedure. In support thereof, Defendants state the following:

                                    III.
             OBJECTION TO LEVEL THREE DISCOVERY CONTROL PLAN

         Plaintiffs requested that this case be governed by a Level 3 Discovery Control Plan, and

did so without providing any explanation for why the extraordinary measure of permitting a

Level 3 Discovery Control Plan is necessary or appropriate. Defendants object. This is a simple

defamation and business disparagement claim and is not the sort of complex case that would

require a Level 3 Plan or a plan “tailored to the circumstances of the specific suit.” See TEX. R.

CIV. P. 190.4(a). Thus, Defendants submit that a Level 2 Discovery Control Plan is appropriate

and request that the Court order that discovery be conducted under the default of Level 2.

                                                IV.
                                        SPECIAL EXCEPTIONS

         Pursuant to Rule 91 of the Texas Rules of Civil Procedure, Defendants specially except

to the Petition and ask the Court to order Plaintiffs to replead and cure their pleading defects.

The Petition does not follow the “fair notice” standard of pleadings in Texas, which looks at

whether a party can ascertain from the pleadings the nature and basic issues of the controversy


11
  See Plaintiffs’ Petition, p. 2.
12
  The comments posted in response to the August 24, 2016 Dark Daily website report also indicate that Plaintiffs’
reputation is viewed by some as less than sterling. See Exhibit 7, pp. 7-9.

                                                       9
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and what testimony will be relevant. See Horizon/CMS Healthcare Corp. v. Auld, 34 S.W.3d

887, 896 (Tex. 2000); TEX. R. CIV. P. 45(b); TEX. R. CIV. P. 47(a). Specifically, Defendants

specially except to the following:

        1.      Without waiving the right to plead further, Defendants specially except to

Paragraph 12 of the Petition, since Plaintiffs claim that “[a]ll conditions precedent have been

performed or have occurred” when in fact Plaintiffs have failed to comply with the Defamation

Mitigation Act. The Defamation Mitigation Act anticipates a pre-suit notification of a claim

with, among other things, specific allegedly defamatory statements identified, so that the parties

can discuss whether a retraction, clarification or correction is warranted and attempt to mitigate

any damages. Plaintiffs did not timely request a retraction, clarification or correction prior to

filing suit or within 90 days of the publication, instead filing this lawsuit without notice on the

eve of limitations. See TEX. CIV. PRAC. & REM. CODE §73.055. As detailed in Texas Civil

Practice & Remedies Code §73.055, a request for retraction under the Defamation Mitigation

Act must (1) state with particularity every statement alleged to be false and defamatory and, to

the extent known, the time and place of publication, (2) allege the defamatory meaning of the

statement, and (3) specify the circumstances causing a defamatory meaning of the statement if it

arises from something other than the express language of the publication. TEX. CIV. PRAC. &

REM. CODE §73.055(d). In accordance with Texas Civil Practice & Remedies Code §73.057 of

the Act, Defendants attach hereto and incorporate fully herein as Exhibit 11 the sworn

verification of Nicholas Poser proving that Defendants did not receive a written request for a

correction, clarification, or retraction prior to the filing of this suit as required by §73.055.

        2.      Without waiving the right to plead further, Defendants specifically except to

paragraphs 20-23, 26, 29-33, 41 and 47, among others, for failing to satisfy the notice pleadings



                                                   10
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requirement in Texas and the in haec verba requirement in defamation cases. When a petition

alleges defamation, the requirement that the complained of statements be specified in the petition

has long been the law in Texas. See Runge v. Franklin, 72 Tex. 585, 10 S.W. 721, 724 (Tex.

1889) (“The very language relied on as libelous must be set out in the Petition for libel and not

the substance and meaning of the language.”); see also Rio Grande Valley Gas Company v.

Caskey, 33 S.W.2d 848, 849 (Tex. Civ. App.—San Antonio 1930, no writ) (“[i]t is always

necessary to set out in the Petition the portions of a writing upon which a libel is based ...”);

Newton v. Dallas Morning News, 376 S.W.2d 396, 400 (Tex. Civ. App.—Dallas 1964, no writ).

Plaintiffs’ allegations are vague, ambiguous, and fail to properly apprise Defendants as to which

specific statement(s), if any, contained in what Reports are allegedly false and/or defamatory

concerning Plaintiffs. Instead, Plaintiffs make vague references to how the Reports are allegedly

“misleading” or created a false impression. Plaintiffs must plead the specific language that

Plaintiffs allege is defamatory and false. See Perkins v. Welch, 57 S.W.2d 914 (Tex. Civ.

App.—San Antonio 1933, no writ). Because Plaintiffs do not specifically identify the allegedly

defamatory statement(s), Plaintiffs should be required to replead to specifically allege what

statement(s), if any, they assert are defamatory, as well as when and where they were made, and

if they fail to do so, the Petition should be dismissed.

       3.      Without waiving the right to plead further, Defendants specially except to the

“Prayer” which requests actual and exemplary damages. Because Plaintiffs failed to comply

with the Defamation Mitigation Act and failed to request a retraction within 90 days of

publication, Plaintiffs are precluded from recovering exemplary damages from Defendants. TEX.

CIV. PRAC. & REM. CODE §§73.055(c), 73.059; Hancock v. Variyam, 400 S.W.3d 59, 65–66

(Tex. 2013); In re Lipsky, 460 S.W.3d 579, 593 (Tex. 2015).



                                                  11
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           4.       Without waiving the right to plead further, Defendants specially except to the

“Prayer” because it asks for attorney fees in a general allegation but does not specify what statute

makes them available in this type of lawsuit.

                                                      V.
                                                VERIFIED PLEAS

           1.       Pursuant to Rule 93(4) of the Texas Rules of Civil Procedure, there is a defect of

 parties because Plaintiffs have incorrectly sued CBS News Inc. As discussed in the attached

 Verification of Nicholas Poser, Defendant CBS News Inc. is not the correct legal name of the

 entity that broadcast and published the Reports at issue. The correct name of that entity is CBS

 Broadcasting Inc., which owns and operates the CBS News Division of which “The CBS

 Evening News” is a part.

           2.       Pursuant to Rules 54 and 93(16) of the Texas Rules of Civil Procedure,

 Defendants deny that all conditions precedent have been performed or have occurred.

 Specifically, Defendants deny that Plaintiffs have complied with the requirements of the

 Defamation Mitigation Act, Texas Civil Practice & Remedies Code §§73.055 and 73.056, in

 that Defendants were not served with a “timely and sufficient” request for a retraction as defined

 by §73.055 prior to the lawsuit being filed, and still have not been served with a timely and

 sufficient retraction request pursuant to the Act. 13

                                                   VI.
                                          AFFIRMATIVE DEFENSES

           3.       Plaintiffs’ claims are barred and subject to dismissal, with an award of attorney’s

 fees and sanctions in favor of Defendants, by the Texas Citizens Participation Act, codified at

 Texas Civil Practice & Remedies Code Chapter 27.                The purpose of the Texas Citizens



13
     See Exhibit 11, Verification of Nicholas Poser.

                                                       12
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Participation Act is to encourage and safeguard the constitutional rights of persons to speak

freely about matters of public concern to the maximum extent permitted by law.

      4.      Defendants were exercising their right to free speech when making the statements

at issue. TEX. CIV. PRAC. & REM. CODE §§27.001(3), (7).

      5.      In determining whether a legal action was brought to deter or prevent the

Defendants from exercising their constitutional rights, one must consider the impact on future

speech. As the Texas Supreme Court has long held, “[e]very defamation action that the law

permits necessarily inhibits free speech.” Diamond Shamrock Refining and Marketing Co. v.

Mendez, 844 S.W.2d 198 (Tex. 1992), citing New York Times v. Sullivan, 376 U.S. 254, 272, 84

S. Ct. 710, 721 (1964) (“whatever is added to the field of libel is taken from the field of free

debate.”).

      6.      Plaintiffs’ claims are barred because the statement(s) alleged to be made were true

or substantially true and, as such, are protected by Texas Civil Practice & Remedies Code

§73.005, Texas common law, Article I, Section 8 of the Texas Constitution and the First and

Fourteenth Amendments to the United States Constitution.          As an initial matter, neither

Cockerell nor CDP has disputed the factual statements in the June 8, 2016 Report and June 9,

2016 Report that CDP performed the tests at issue.         Moreover, the connections between

Plaintiffs and ProGen and OriGen are clear and direct rather than tenuous, as Plaintiffs would

have this Court believe. Despite Plaintiffs’ attempts to distance themselves from the alleged

misconduct by blaming individuals associated with another company, OriGen, and its third-

party manager, ProGen, Cockerell has already admitted that each of the labs operated under his

contracts and the billing for each was done through his CLIA license. Further, Cockerell is

listed as the owner of OriGen and filings with the Dallas County and the Texas Secretary of



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State show that Cockerell, CDP and ProGen operated under a single name, OriGen, at all times

relevant to this action. See Exhibit 2; Exhibit 4. Moreover, multiple individuals have made

similar allegations regarding unexpected billing for questionable tests in response to the facts

stated in these Reports. See Exhibit 7, pp. 7-9. Plaintiffs cannot show the Reports were not, at a

minimum, substantially true.

      7.      Plaintiffs have the burden of showing that the statements at issue are materially

false as they relate to Plaintiffs.   In the alternative and without waiving the foregoing,

Defendants plead substantial truth as an affirmative defense under the common law and under

Texas Civil Practice & Remedies Code §73.005(a).

      8.      Plaintiffs’ claims are barred because the statement(s) at issue were opinion and/or

rhetorical hyperbole.

      9.      Plaintiffs’ claims are barred because the statement(s) alleged to be made are not

capable of a defamatory meaning.

      10.     In preparing the statements at issue, Defendants accurately reported on allegations

made by a third-party regarding a matter of public concern which is protected under Texas Civil

Practice & Remedies Code §73.005(b).

      11.     Plaintiffs’ claims are barred by common law and statutory and constitutional

privileges, such as the fair report privilege, the neutral report privilege, the fair comment

privilege, the common interest privilege, the privileges found in Section 73.002 of the Texas

Civil Practice & Remedies Code and the privileges of free speech and free press found in Article

I, Section 8 of the Texas Constitution as well as the First and Fourteenth Amendments to the

United States Constitution. To overcome the privileges, Plaintiffs must establish, by clear and




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convincing evidence that Defendants acted with actual malice. Plaintiffs have not pled facts

demonstrating actual malice, nor can they prove actual malice.

      12.     The statements at issue are privileged as a fair, true and impartial account of an

official proceeding by governmental entities, pursuant to the common law and Texas Civil

Practice & Remedies Code §73.002(b)(1). To overcome the privilege, Plaintiffs must establish,

by clear and convincing evidence that Defendants acted with actual malice. Plaintiffs have not

pleaded facts demonstrating actual malice, nor can they prove actual malice.

      13.     The statements at issue are privileged as a reasonable and fair comment on a

matter of public concern published for general information pursuant to the common law and

Texas Civil Practice & Remedies Code §73.002(b)(2). To overcome the privilege, Plaintiffs

must establish, by clear and convincing evidence, that Defendants acted with actual malice.

Plaintiffs have not pled facts demonstrating actual malice, nor can they prove actual malice.

      14.     Plaintiffs are public figures and Defendants did not publish the statements

believed to be the subject matter of Plaintiffs’ suit with actual malice, and Plaintiffs have not

pled facts demonstrating actual malice, nor can they prove actual malice.

      15.     The statements at issue concern a matter of legitimate public concern. To impose

liability upon Defendants for allegedly false implications that might be drawn from the true

facts reported would violate Article I, Section 8 of the Constitution of Texas, the First and

Fourteenth Amendments to the Constitution of the United States, Texas common law, and the

Texas Citizens Participation Act, codified at Texas Civil Practice & Remedies Code Chapter 27.

      16.     Plaintiffs have suffered no damages and are not entitled to an award of damages

of any sort as a result of Defendants’ publications.




                                                15
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       17.     Plaintiffs’ claims are barred because the alleged injuries to Plaintiffs and

damages, if any, are due solely to other causes and matters that are not related to Defendants’

statements, actions, operations, or conduct.

       18.     Plaintiffs’ claims are barred, in whole or in part, by Plaintiffs’ own contributory

negligence.

       19.     Plaintiffs’ damages, if any, were caused by Plaintiffs’ own actions and/or

omissions.

       20.     On information and belief, one or more third-parties are responsible for the

damages, if any, caused to Plaintiffs.

       21.     Pursuant to Chapter 73 of the Texas Civil Practice & Remedies Code, Defendants

assert and specially plead the affirmative defense of mitigation of damages. Specifically,

Defendants plead and will offer evidence at trial of the following matters: 1) Plaintiffs’ prior

reputation; 2) the facts and circumstances under which the allegedly libelous publication was

made; 3) evidence of Defendants’ intent when the allegedly libelous publication was made; and

4) lack of damages suffered by Plaintiffs.

       22.     Plaintiffs have failed to mitigate their damages, if any.

       23.     The statements made by the Defendants did not cause any special damages.

       24.     Defendants plead the affirmative defense of justification and/or excuse based on

legal right.

       25.     Defendants plead the defense of good faith.

       26.     Plaintiffs are barred from recovering exemplary damages by the protections

afforded under the First Amendment and Fourteenth Amendment to the United States

Constitution and under Article I, Section 8 of the Texas Constitution and under the Due Process



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Clauses of the Texas and the United States Constitutions; Defendants invoke any and all

Constitutional, statutory and common law limitations on the recovery of actual or exemplary

damages.

       27.     Plaintiffs have failed to timely and sufficient request a retraction pursuant to

Texas Civil Practice & Remedies Code §73.051, et seq. and therefore are barred from

recovering exemplary damages. See TEX. CIV. PRAC. & REM. CODE §73.055(c).

                                              VII.
                                            PRAYER

       Defendants request that the Court order Level Two discovery in this case, sustain

Defendants’ Special Exceptions, and require Plaintiffs to remedy their pleading defects, and if

Plaintiffs do not cure their defects, strike Plaintiffs’ Original Petition, assess costs against

Plaintiffs, and award Defendants all other legal or equitable relief to which they may be entitled.

                                              Respectfully submitted,

                                              HAYNES AND BOONE, LLP


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                                  ATTORNEYS FOR DEFENDANTS CBS
                                  NEWS, INC., JIM AXELROD, AND EMILY
                                  RAND




                                    18
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                                CERTIFICATE OF SERVICE

    The above signed certifies that a true and correct copy of the foregoing was served via e-
service on the 7th day of July, 2017 to:

Jeffrey M. Tillotson
Jonathan R. Patton
Joseph A. Irrobali
Tillotson Law
750 North St. Paul Street, Suite 610
Dallas, TX 75201

COUNSEL FOR PLAINTIFFS

                                                  /s/ Laura Lee Prather
                                                  Laura Lee Prather




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                                 CAUSE NO. DC-17-06799

CLAY COCKERELL and                                §       IN THE DISTRICT COURT OF
COCKERELL DERMATOPATHOLOGY,                       §
P.A.,                                             §
                                                  §
       Plaintiffs,                                §
                                                  §
V.                                                §       DALLAS COUNTY, TEXAS
                                                  §
CBS NEWS INC; JIM AXELROD; and                    §
EMILY RAND,                                       §
                                                  §
       Defendants.                                §       193RD JUDICIAL DISTRICT

                                      EXHIBIT LIST

Exhibit 1       June 8, 2016 Report titled “U.S. military members duped to help pull off
                insurance fraud” published on CBS website

Exhibit 2a      January 5, 2016, Assumed Name Filing for Cockerell Dermatapathology, P.A.

Exhibit 2b      December 16, 2016, Abandonment of Assumed Name Certificate Abandoning
                Name OriGen Laboratories by CDP

Exhibit 2c      December 13, 2016, Withdrawal Notice of An Assumed Name abandoning
                name OriGen Laboratories by Cockerell

Exhibit 3       June 9, 2016 Report titled “Feds investigating insurance fraud that duped U.S.
                military” published on CBS website

Exhibit 4a      December 29, 2015, Dallas County Assumed Name Certificate for ProGen Lab
                Systems, L.L.C.

Exhibit 4b      December 29, 2015, TX SOS Assumed Name Certificate of ProGen Lab
                Systems, L.L.C.

Exhibit 4c      ROAM Details Assumed Name Filing for ProGen

Exhibit 5       June 8, 2016 statement titled “In response to the CBS News story that aired on
                June 8, 2016” previously posted on CDP’s website (now available on internet
                archive website www.waybackmachine.com)

Exhibit 6       “Statement of Clarification,” dated July 11, 2016 posted on CDP’s website
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Exhibit 7    August 24, 2016 Online Report, with comments, titled “Texas
             Dermatopathology Laboratory Under Fire for Genetic Testing Scheme
             Targeting Soldiers Near Fort Hood” published on the Dark Daily website

Exhibit 8    Business Organizations Overview for CDP showing assumed name of OriGen
             Laboratories

Exhibit 9    BBB Business Profile for CDP as of June 21, 2017

Exhibit 10   BBB Business Profile for OriGen Laboratories as of June 21, 2017

Exhibit 11   Verification of Nicholas Poser
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                     EXHIBIT 1
   Case 3:17-cv-01840-B Document 1-1 Filed 07/13/17                                                 Page 53 of 107 PageID 59




CBS News / CBS Evening News / CBS This Morning / 48 Hours / 60 Minutes / Sunday Morning / Face The Nation / CBSN




By JIM AXELROD, EMILY RAND / CBS NEWS / June 8, 2016, 7:09 PM



U.S. military members
duped to help pull off
insurance fraud
7 Comments / Share /              Tweet /       Stumble /       Email

CBS News is exposing an insurance scam -- and you, as a taxpayer, are a victim.

It is especially egregious because members of the U.S. military are being duped to
help pull off the fraud.

A club in West Hollywood, with pulsing music, might not seem like the ideal
location for a business meeting. But this was where we were invited by Dustin
Warren, a salesman working with a lab that conducts genetic testing and drug
screening.

CBS News recorded the meeting undercover.

Warren gave us a taste of his hardball pitch he uses to get doctors to order the
tests.

"If you're not doing this, you're a pile of s**t. You don't care about people. You
don't care about cancer. And you don't care about your patients. Bottom line," he
said.
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Dustin Warren. / CBS NEWS


With the right contacts, Warren told us, we could expect to make big money.

"Sixty f***** grand a month," he said.

Thanks, in part, to genetic tests that assess cancer risk. He said military insurance,
called Tricare, reimburses the most for a single test.

"We were banging them for 12 to 16 grand and we dialed it back to 8,000 because
we're like, we're going to get f***... this isn't going to be good for anybody,"
Warren said.

The tests are conducted and billed by a lab in Dallas, Cockerell Dermatopathology,
which offers another test -- a drug screening. And that screening made the lab
more than $5 million dollars from Tricare last year.

To entice soldiers to be screened -- so Tricare could be billed -- others working
with the Cockerell Lab set up a makeshift clinic in a strip mall just a mile from the
gates of Fort Hood.

 CBS News has learned that beginning last summer and running all the way
 through this past February, soldiers would line up every day in this parking by the
 dozens and provide their DNA, urine and Tricare ID cards in exchange for a $50
 Wal-Mart gift card.

"It was a lot of people. It was full," said Linda Bozeman.

Bozeman -- the wife of a soldier -- told us she visited the clinic a few times last year
to make a little extra money for Christmas presents.

"They said they had this clinical research going and that they paid you by Wal-
Mart cards, so you'd give your urine," she said.

But it wasn't for research.
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Linda Bozeman speaking with CBS News' Jim Axelrod. / CBS NEWS




Documents show Cockerell Dermatopathology used Bozeman's samples to bill
Tricare 418 separate times, unneeded screening for dozens of drugs like PCP,
cocaine and methadone. Nearly $7,000 at tax payers expense.
And this wasn't the only place near Fort Hood where soldiers lined up. There was
also a storefront a few blocks away. They were only there a little while before
setting up shop at a more professional looking site.

A few months ago, they moved a few miles down the road, to another location.
Now from the looks of things they are no longer in business there either, but CBS
News found plenty of evidence in the trash, that they had been.

Soldiers' social security numbers, medical information, DNA specimens and more
than 60 photocopies of military IDs, including Linda Bozeman's were found.

Which left us with a lot of questions for Cockerell Dermatopathology, and its
owner Dr. Clay Cockerell, a dermatologist.

"I run a dermatopathology laboratory, I've been doing that for well over 20 years,"
he said.




Dr. Clay Cockerell. / CBS NEWS


Our producer caught up with him outside the lab.
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 "I'm going to take off ... that's not my lab," he said.

 He said he is not running the lab.

 In a written statement, representatives of Cockerell Dermatopathology confirmed
 it is his lab.

 They also said, "There is a possibility that individuals were operating outside of the
 organization's strict compliance requirements."

 The lab said it is voluntarily refunding what it calls "significant amounts of money"
 -- but wouldn't say how much or to whom.
 CBS News asked the Pentagon if it's investigating -- they told CBS News they can't
 discuss it.

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 7 Comments / Share /                    Tweet /    Stumble /   Email

                                                                        COMMENTING FAQS / GUIDELINES
 NEWEST | OLDEST | TOP COMMENTS


 RADIOBLOCKER June 10, 2016 7:7AM

 If someone offered me a $50 gift card for unnecessary medical tests not ordered by my
 doctor, I'd know it was a fraud immediately. Why is no one mentioning the culpability
 of the people who signed up for the tests? Because they are military and their families? I

 applaud the sacrifices that military personnel and their families make everyday, but
                                      SHOW STORY +
 that does not remove them from the need to employ common sense, follow
 responsibilities, and the law.

    LIKE /      REPLY



  37213 June 9, 2016 4:4AM

  Thank you, CBS News, for exposing this.

    1 LIKE /     REPLY


  BDMACG June 8, 2016 8:8PM

  I bet this doctor is a TEA-GOP member....

    2 LIKE /     REPLY




  REZQEWR June 8, 2016 11:11PM

  @bdmacg Got verifiable evidence to back up that claim?

    LIKE /      REPLY




               AUS22 June 9, 2016 2:2AM

               @Rezqewr @bdmacg You really don't understand the word "bet"
               do you?

                 2 LIKE /    REPLY



    QUEST6249 June 9, 2016 8:8AM

    @Rezqewr @bdmacg


    deceit, abuse of federal programs, and lies... Hillary must be involved..

                            LIKE /   REPLY


JANERIC123 June 8, 2016 8:8PM

Business has one goal with no soul.
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                    EXHIBIT 2a
     Case 3:17-cv-01840-B Document 1-1 Filed 07/13/17                                                                                               Page 58 of 107 PageID 64
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                    EXHIBIT 2b
      Case 3:17-cv-01840-B Document 1-1 Filed 07/13/17                               Page 60 of 107 PageID 66

 Form 504                                                                                    This space reserved for office use.
 (Revised 05/11)
                                                                                                                   FILED
 Return in duplicate to:                                                                                  In the Office of the
                                                                                                       Secretary of State of Texas
 Secretary of State
 P.O. Box 13697                                                                                                 DEC 16 2016
 Austin, TX 78711-3697                           Abandonment of Assumed
 512 463-5555                                       Name Certificate                                   Corporations Section
 FAX: 512 463-5709
 Filin Fee: $10

                                                     Assumed Name

 I. The assumed name to be abandoned is:                             OriGen Laboratories
 2. The assumed name certificate was filed with the secretary of state on:                   01/25/2016
                                                                                            -'-"'-''-'---"-'-'-'-~~~~~~~
                                                                                             mmlddlyyyy

                                                  Entity Information

 3. The legal name of the entity abandoning the assumed name is:

 Cockerell Dermatopathology, PA
 State the name of the entity as currently shown in the records of the secretary ofstate or on its organizational docun1ents,
 if not filed with the secretary of state.
 4. The file number, if any, issued to the entity by the secretary of state is:                 801750722
                                                                                              ~~~~~~~~~~~




 5. The office address of the entity in its jurisdiction of formation is:
 2110 Research Row, Suite 100
 Dallas, Texas 75235
      (Complete item 6 only when the entity is required by la\v to maintain a registered agent/registered office in Texas.
                      An entity required to complete item 6 does not complete item 7. See instructions.)

 6a. The entity is required to maintain a registered office and agent in Texas. The address of its
 registered office in Texas is:
 1445 Ross Avenue, Suite 2400, Dallas, Texas 75202

 6b. The name of the registered agent at such address is:

 Tom M. Dees, III
 6c. The address of the principal office of the entity (if not the same as 6a) is:



      (Complete item 7 only if the entity is not required by law to maintain a registered agent/registered office in Texas.
                                                                                                   .
                                                                                                        t
                                                                                                            .
              Complete item 7c only if the entity is not organized under the laws of Texas. See instructions.)
                                                                                                            • I"   .
                                                                                                                       ..

 7a. The entity is not required by law to maintain a registered agent/registered office.in Texas. Its
 principal office address in Texas is:

                     RECEIVED
Form 504                DEC 16 2Q16                             3

                   Secretary of StatE:
       Case 3:17-cv-01840-B Document 1-1 Filed 07/13/17                     Page 61 of 107 PageID 67
 7b. The address of the entity's principal place of business in Texas (if not the same as 7a) is:



 7c. The entity is not organized under the laws of Texas. Its office address outside the state is:



                       County or Counties in which Assumed Name Filed
 8. The assumed name being abandoned was filed on the following dates in the following counties:
 Dallas                                                       21112016
 /llan1e of County                                             Date of Filing


 Name of County                                                Date of Filing

                                                Execution
 The undersigned signs this document subject to the penalties imposed by law for the submission of a
 materially false or fraudulent instrument and also certifies that the person is authorized to sign on
 behalf of the identified entity. If the undersigned is acting in the capacity of an attorney in fact for the
 entity, the undersigned certifies that the entity has duly authorized the undersigned in writing to
 execute this document.

 Date:        12/13/2016




                                                    Signature of a person authorized by law to sign on behalfof the
                                                    identified entity (see instructions)




Form 504                                              4
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                    EXHIBIT 2c
                                Case 3:17-cv-01840-B Document 1-1 Filed 07/13/17                                                                               Page 63 of 107 PageID 69

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                     EXHIBIT 3
       Case 3:17-cv-01840-B Document 1-1 Filed 07/13/17                                     Page 65 of 107 PageID 71




By JIM AXELROD, EMILY RAND / CBS NEWS / June 9, 2016, 6:53 PM




Feds investigating
insurance fraud that
duped U.S. military
We have a follow-up to our CBS News investigation that exposed an insurance
scam in which taxpayers are the victims.

                                     Members of the U.S. military have been duped
                                     into getting unnecessary medical tests that are
                                     paid for by the Pentagon's insurance plan.

                                     After our report aired Wednesday, CBS News
                                     confirmed the federal government has opened a
                                     criminal investigation.
Play VIDEO
                                     A heap of trash dumped into a shed at a clinic near
U.S. military members                Fort Hood contained soldiers' social security
used to pull off insurance           numbers, medical information, DNA specimens,
fraud                                and more than 60 photocopies of military IDs.

As CBS News showed you last night, makeshift clinics offered soldiers $50
Walmart gift cards in exchange for their urine and DNA.

      U.S. military members duped to help pull off insurance fraud
      Questionable tactics used to profit from genetic testing boom

Some of those samples were sent to Cockerell Dermatopathology lab in Dallas --
which billed the military's insurance -- Tricare -- for millions of dollars worth of
largely unneeded drug testing.

Agents with the Defense Criminal Investigative Service are now trying to
determine who made money at Tricare's expense -- and how much.

On Thursday, Pentagon spokesman Peter Cook addressed CBS News' story.

                                     "Reports like this are obviously of concern to us
                                     and something we want to address," he said.

                                     This is not the first time Tricare has been targeted
                                     by scammers.

                                     "These criminals were filling sandbags with cash
                                     as quickly as they could before we cut it off," said
                                     Richard Thomas.
Gift cards used to lure
patients for genetic test      Until April, retired two-star General Richard
scam                           Thomas ran Tricare. As CBS News reported last
                               year, claims for custom made prescription creams
called compounds had grown exponentially until the Pentagon stopped paying for
most of them due to their dubious medical value.
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General Richard Thomas walks with CBS News' Jim Axelrod. / CBS NEWS

Tricare was $1.3 billion in the hole.

Is that largely due to this fraudulent billing of compound drugs?

"Absolutely it was," said Thomas. "That was the biggest single source of us being
overspent."

The Pentagon had to re-allocate money from its fuel budget to cover healthcare for
the troops.

"What makes this especially egregious is the fact they were specifically going after
our military force, and their families, and our veterans," said Thomas.

So far they've recovered about $240 million.

It appears from CBS News' reporting that another fraud is popping up. What does
that say to Thomas?

"It's not over. The fight continues," he said. "We have to always have our scouts
out and be vigilant."

Cockerell Dermatopathology tells CBS News there's a possibility individuals didn't
follow the company's compliance requirements, and is voluntarily returning
significant amounts of money.

One estimate pegs the number of soldiers duped in the scam to be at least 2000.

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8 Comments /

NEWEST | OLDEST | TOP COMMENTS

GRUMPYJC June 10, 2016 11:11AM

The companies and individuals involved need to be throughly liquidated, jailed, and
banned from any business venture that has any possibility of payment from the
government, regardless of how many shill companies and individuals they create.

They should also be made to report to a federal probation officer every year to prove
they are not still criminal ass----s.


If we could just get rid of all cheats of government funds, we would never be in debt
again.
    Case 3:17-cv-01840-B Document 1-1 Filed 07/13/17                                     Page 67 of 107 PageID 73
  1 LIKE /     REPLY


IMNOTIMPORTANT June 9, 2016 7:7PM

To paraphrase an important politician, “For profit business is not the cure of your
problems. It may in fact be the cause of many of your problems.”

  3 LIKE /     REPLY


SEEBSPOSTER June 9, 2016 7:7PM

The beloved God of the conservatives "Private Industry" ripped someone off? Must be
because of regulations....LOL.

  4 LIKE /     REPLY


XYLONNE June 9, 2016 7:7PM

What about that famous or infamous tax-free Foundation that belongs to three
members of one family? Can you imagine how that will grow once they are in the Oval
O. again and after their term? Wow, how ineffective our government is and will be when
these win it this November. Wow, they are turning into "Ali Baba and the 40, oh forget
it, into 3 thieves"...

  1 LIKE /     REPLY


             BILLFAIR June 9, 2016 8:8PM

             @Xylonne Oooo! Ooooo! It must be one of these top tax exempt foundations:


             10: Churches (Roman Catholic Church alone is worth $170 Billion!!!!)
             9: Hospitals
             8: Universities
             7: YMCA
             6: Goodwill
             5: The Smithsonian Institution


             10: The NFL.. Yep... Football!


             I'm sorry.... What was the question again?

               1 LIKE /   REPLY


FLAGSANDIRIS June 9, 2016 7:7PM

Let's hope everyone goes to prison, from that scummy pitchman to the lying weasel Dr
who drove away. Thank you CBS, keep up the good work.

  4 LIKE /     REPLY


RYKATSPOP June 9, 2016 6:6PM

We need more cruise missiles at $3 mil a pop. We can use them somewhere or
warehouse them and replace them again ten years from now at twice the cost. Good
stuff. Good money down a toilet.

  1 LIKE /     REPLY



HITHERE! June 9, 2016 6:6PM

Why dont you go find the 2.3 TRILLION the Pentagon lost before 9/11.

  2 LIKE /    REPLY
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                    EXHIBIT 4a
        Case 3:17-cv-01840-B Document 1-1 Filed 07/13/17                                                                   Page 69 of 107 PageID 75
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                    EXHIBIT 4b
                                                                                                  -----·-       -

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             Case 3:17-cv-01840-B Document 1-1 Filed 07/13/17 Page 71 of 107 PageID 77



      Form 503                                                                                  This space ieserved for office use_
      (Revised 09/13)
      Return in duplicate to:                                                                             IFI!LIED
      Secretary of State                                                                              In the Office of the
                                                                                                  Secretan1 of Stzte of Texas
      P.O. Box 13697
      Austin, TX 78711-3697                        Assumed Name Certificate                                 DEC 3 1 2015
      512 463-5555
      FAX: 512 463-5709                                                                          Corporations Section
      Filin Fee: $25

                                                         Assumed Name
      1. The assumed name under which the business or professional service is, or is to be, conducted or
      rendered is: OriGen Laboratories

                                                       Entity Information
      2. The legal name of the entity filing the assumed name is:
      ProGen Lab Systems, L.L.C.
      State the name ofdie entity as currently shown in the records ofthe secretary ofstate or on its organizational documents,
      ifnot filed with the secretary ofstate.
      3. The entity filing the assumed name is a: (Select the appropriate entity type below_)
      0   For-profit Coxporation                                              EJ Limited Liability Company
      0   Nonprofit Coxporation                                               0   Limited Partnership
      0   Professional Corporation                                            0   Limited Liability Partnership
      0   Professional Association                                            0   Cooperative Association
      00ther
                     Specify type ofentity_ For example, foreign real estate investment b-ust, state bank, insurance company, etc.
      4. The file number, if any, issued to the entity by the secretary of state is:                802115353
                                                                                                   ~~--------

      5. The state, country, or other jurisdiction of formation of the entity is: _T_e_x_a_s________
      6_ The entity's principal office address is:
      2110 Research Row, Suite 100
      Stroet t)t' Mailing Address
     Dallas                                           TX                  USA                           75235
      City                                             Stare              Country                       Postal or Zip Code


                                                       Period of Duration
      IZl 7a. The period during which the assumed name will be used is 10 years from the date of filing
      with the secretary of state.
      OR
      D   7b. The period during which the assumed name will be used is _ _ years from the date of filing
      with the secretary of state (not to exceed I 0 years)-                   , , , , , . , . " 1,
      OR                                                                                                1                    · ' -,
                                                                                                                              ' -.
      D      7c. The assumed name will be used until                                                (not to exceed 10-years).
                                                                             mm!ddlyyyy


     Fonn 503                                                        4
DEC-31-2015-THU-12: 18            BW&W-                         FAX No. 817-877-1636-                           P. 004/006
             Case 3:17-cv-01840-B Document 1-1 Filed 07/13/17                    Page 72 of 107 PageID 78


                             County or Counties in which Assumed Name Used
       8. The county or counties where business or professional services are being or are to be conducted or
       rendered under the assumed name are:

       0     All counties

       D    All counties with the exception of the following counties:


       D     Only the following counties:


                                                     Execution
      The undersigned signs this document subject to the penalties imposed by law for the submission of a
      materially false or fraudulent instrument and also certifies that the person is authorized to sign on
      behalf of the identified entity. If the undersigned is acting in the capacity of an attorney in fact for the
      entity, the undersigned certifies that the entity bas d        authorized the undersigned in writing to
      execute this document.
       Date:      /2/2.j    /r5

                                                         Signature of a petson authorized by law to sign on behalf of the
                                                         identified entity (see instructions)




      Pom.l 503                                             5
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                    EXHIBIT 4c
ROAM Details                                                                                                                  Page 1 of 2

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  ORIGEN LABORATORIES                       Grantor                                 Y                  1             Add to Cart
  PROGEN LAB SYSTEMS LLC                    Grantee                                 Y                  1


 Returnee
         Customer Seq                                Name                               Date Returned

  1                                  ORIGEN LABORATORIES,                      01/19/2016




Page 1 of 2                                                                                                                        6/9/2017
ROAM Details                                                               Page 2 of 2

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                     EXHIBIT 5
In response to the CBS News story that aired on June 8, 2016 | Cockerell Dermatopatholo... Page 1 of 1

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  News & Events                                      In response to the CBS News story that aired on June 8, 2016
    News                                               JUN
                                                                   In response to the CBS News story that aired on June 8, 2016
                                                       08
  Events                                               2016
                                                                   Cockerell Dermatopathology, P.A. is a Texas-based laboratory. While our core business is
  Video Library                                                    anatomic pathology and dermatopathology, we also have relationships with others that perform
                                                                   molecular, as well as genomics and toxicology work. The laboratory that does this business
                                                                   operates under the name Origen Laboratories and is owned by Clay Cockerell, M.D., an
                                                                   internationally-recognized physician with more than 30 years of experience in pathology.

                                                                   Dr. Cockerell oversees and manages the anatomic and dermatopathology testing performed at
                                                                   the laboratory. The molecular, genomics, and toxicology testing is overseen and managed by
                                                                   ProGen Lab Systems, LLC, an independent laboratory management services organization.

                                                                   On any given day, the laboratory receives orders from physicians requesting that certain tests
                                                                   and screenings be performed on their patients. The results of any qualifying test or screening
                                                                   are sent back to the prescribing physicians, who then decides how best to utilize the results for
                                                                   the benefit of their patients’ plan of care.

                                                                   We take pride in operating with the highest level of integrity. When Origen became aware that
                                                                   certain individuals were operating outside of the organization’s strict compliance requirements
                                                                   regarding the manner in which laboratory services are marketed, we took immediate action,
                                                                   including terminating individuals and relationships with those that acted in violation of the
                                                                   laboratory’s compliance policies. We are also voluntarily refunding monies resulting from these
                                                                   activities. In no case did Origen or Cockerell profit from these activities as suggested by the
                                                                   CBS story.

                                                                   We will vigorously defend ourselves against allegations of wrongdoing – and we remain
                                                                   steadfast in our commitment to our patients, our staff, and our community at large to continue
                                                                   providing the highest quality healthcare possible.




                                                                                        CLINICIANS            PATIENTS             ABOUT US     NEWS & EVENTS            CONTACT US

                                                                                                                                                   800-309-0000

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                     EXHIBIT 6
Clarification of Facts in CBS Story – Cockerell Dermatopathology                      Page 1 of 3

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    Clarification of Facts in CBS Story
    Posted on July 11, 2016


    Our Continued Commitment to Patients
    CBS aired a story on June 8th, 2016 that included many inaccuracies about Cockerell
    Dermatopathology and its owner, Clay J. Cockerell, M.D., We are appalled that we
    were implicated in the alleged activities that took advantage of veterans and their
    loved ones. We want to assure you that we were not involved in those activities in any
    way.

    We take pride in operating with the utmost integrity and honesty. Our reputation and
    involvement in our community—including our support of veterans—is how we built and
    continue to grow our business.

    We appreciate the many partners, physicians and patients who have reached out to
    support us as we work to correct the misinformation aired by CBS. We remain
    steadfast in our commitment to our patients, our staff, and our community at large to
    continue providing the highest quality healthcare possible.

    Facts Regarding the Issue
    Cockerell Dermatology’s core business is dermatopathology which refers to evaluation
    of skin biopsy specimens. Dr. Cockerell has a relationship with Origen Laboratories
    that performs cutting-edge molecular, genomics and toxicology work. Origen is
    operated by ProGen, a third-party lab manager.

    Months prior to the airing of the CBS story, ProGen became aware of individuals
    operating outside of the company’s compliance policies and requirements. At that
    point, immediate action was taken including terminating all relationships with those
    individuals. In addition, ProGen voluntarily refunded monies resulting from these
    activities. From our understanding, ProGen acted swiftly and appropriately to address
    the wrongdoing.

    We remain committed to continue to provide care to our referring physicians, our
    patients and our community as we deal with this unnecessary and unfortunate
    distraction. We thank you and the multitude of well-wishers who have reached out to
    us for your continued understanding and support. We look forward to putting this
    issue behind us and moving forward on our vision to provide the best diagnostic
    services to the greatest number of individuals who need them anywhere in the world.

    Clay J. Cockerell, M.D.




http://cockerelldermpath.info/news-updates/continued-commitment/                       6/27/2017
Clarification of Facts in CBS Story – Cockerell Dermatopathology                                  Page 2 of 3

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    ← Teledermatology Company Adds Dr. Clay Cockerell to Advisory Board
                                            Cockerell Dermpath Welcomes Back Dr.
                                                                     Lydia Essary →


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Clarification of Facts in CBS Story – Cockerell Dermatopathology                        Page 3 of 3

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                                           Contact Us                    800 309 0000

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                     EXHIBIT 7
Texas Dermatopathology Lab Allegedly Bilking Healthcare | Dark Daily                                  Page 1 of 12

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      Texas Dermatopathology Laboratory Under Fire for
       Genetic Testing Scheme Targeting Soldiers Near
                          Fort Hood
                                     August 24, 2016 By jude — 6 Comments




     CBS News investigation alleges Cockerell Dermatopathology used service members to bill military
     health insurance system for millions of dollars of unnecessary screening tests


     Following its investigation, CBS News reported allegations that a Texas dermatopathology
     laboratory has bilked the military healthcare system out of millions of dollars by enticing service




https://www.darkdaily.com/texas-dermatopathology-laboratory-under-fire-for-genetic-testin... 7/5/2017
Texas Dermatopathology Lab Allegedly Bilking Healthcare | Dark Daily                                   Page 2 of 12

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     members to sign up for unnecessary genetic and drug screening tests in exchange for $50 gift
     cards.


     This latest incident adds to the growing number of investigations and health insurer lawsuits in
     recent years alleging fraudulent business practices within the clinical laboratory industry.
     Although only a handful of companies have been prosecuted by the federal government for fraud
     and abuse, The Dark Report last year noted that the hundreds of millions of dollars involved in these
     cases represent just a portion of the fraudulent clinical laboratory test claims that federal officials
     believe have been submitted in recent years by a much larger number of lab companies performing
     toxicology, pain management, and cardiology tests.


     Clinical Laboratory Allegedly Committed Insurance Fraud According to CBS News


     In its June 8, 2016, broadcast, CBS News exposed this latest alleged insurance scam involving
     Cockerell Dermatopathology Laboratory in Dallas. CBS News claims soldiers and their family
     members were drawn to makeshift clinics near Fort Hood Army base in Texas by a marketing
     campaign that offered a $50 Walmart gift card in exchange for providing DNA, a urine sample, and
     a copy of their military identification card. CBS said screening tests were then conducted and billed
     to Tricare, the health insurance program for military members, retirees, and their family members.


     Linda Bozeman, wife of a service member, stated in the CBS News report that she visited a Fort
     Hood area clinic several times last year to earn extra money during the Christmas holiday season.


     “They said they had this clinical research going and that they paid you by Walmart cards, so you’d
     give your urine,” said Bozeman, whose photocopied ID card was found by CBS News in a shed filled
     with discarded DNA specimens, medical information, Social Security numbers, and other
     paperwork.


     CBS News reported that Cockerell Dermatopathology used Bozeman’s samples to bill Tricare 418
     separate times for unneeded screenings for dozens of drugs such as PCP, cocaine, and methadone
     at a cost of nearly $7,000.


     Accused Lab Received Millions in Payments from Tricare


     According to CBS News, Cockerell Dermatopathology received more than $5 million in Tricare
     payments last year for allegedly unnecessary lab tests performed by Origen Laboratories in Dallas.
     The lab conducts molecular, genomics, and toxicology testing for Cockerell Dermatopathology,
     and also is owned by Clay Cockerell, MD, who is past President of the American Academy of




https://www.darkdaily.com/texas-dermatopathology-laboratory-under-fire-for-genetic-testin... 7/5/2017
Texas Dermatopathology Lab Allegedly Bilking Healthcare | Dark Daily                             Page 3 of 12

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     Dermatology. Origen Laboratories is managed by ProGen Lab Systems, an independent laboratory
     management organization.




                       Retired 2-star General Richard Thomas (left), former head of
                     Tricare, speaks with Jim Axelrod (right) of CBS News, about the
                      investigation into Cockerell Dermatopathology of Dallas. The
                     investigation was sparked by a CBS News story that alleged the
                         clinical laboratory was part of a scheme to entice service
                        members near Fort Hood Texas to provide DNA and urine
                       samples that were used to bill the military health insurance
                      system for millions of dollars of unnecessary genetic and drug
                               screening tests. (Photo copyright: CBS News.)


     During a briefing with reporters that took place the day after the CBS News report aired, Pentagon
     Press Secretary Peter Cook did not confirm a Pentagon investigation was under way to determine
     who made money at Tricare’s expense, but noted, “Reports like this are obviously of concern to us
     and something we want to address.”


     Cockerell Lab Responds to Allegations of Wrongdoing


     An estimated 2,000 soldiers may have been duped, CBS News stated in its report.


     In response to the CBS broadcast, Cockerell Dermatopathology posted a statement on its website
     in which the lab stated it would be refunding money received from the tests in question, which was
     reported by Military.com. The clinical laboratory company did not provide details on the amount
     being refunded or indicate who would receive reimbursements. Cockerell Dermatopathology
     stated that the lab would “vigorously defend [itself] against allegations of wrongdoing.”




https://www.darkdaily.com/texas-dermatopathology-laboratory-under-fire-for-genetic-testin... 7/5/2017
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     “When Origen became aware that certain individuals were operating outside of the organization’s
     strict compliance requirements regarding the manner in which laboratory services are marketed,
     we took immediate action, including terminating individuals and relationships with those that acted
     in violation of the laboratory’s compliance policies,” Cockerell Dermatopathology wrote in that
     statement. “We are also voluntarily refunding monies resulting from these activities. In no case did
     Origen or Cockerell profit from these activities as suggested by the CBS story.”


     The original statement is no longer available to be read on the Cockerell Dermatopathology
     website. However, in a “Clarification of Facts,” statement posted on July 11, Cockerell admitted to
     having a “relationship” with Origen Laboratories, which is managed by ProGen. He also claims that
     “months prior to the airing of the CBS story” ProGen learned of “individuals operating outside of
     the company’s compliance policies and requirements” and immediately terminated those
     individuals.


     In July, following the CBS broadcast, Baylor University Medical Center announced that Alan
     Menter, MD, would remain as the university’s Chairman of Dermatology indefinitely. According to
     Dallas/Fort Worth Healthcare Daily, Clay Cockerell had been scheduled to take over Menter’s post
     on July 1. In a statement, Baylor praised Cockerell, stating, “Dr. Clay Cockerell is a well-regarded
     dermatologist who has an excellent clinical reputation. We were previously in discussions with Dr.
     Cockerell about a leadership position at Baylor University Medical Center. However, both parties
     have formally paused the talks.”


     The article also reported that, in an e-mail, Cockerell stated, “While I work to correct the
     misinformation in the story, we thought it best to delay my appointment temporarily and mutually
     agreed to a short term pause.” Cockerell also wrote, “I do not own a lab in Killeen. The lab that is
     managed by ProGen performed tests on specimens that were sent to us that were induced by
     dishonest individuals. We learned about it over nine months ago. ProGen terminated relationships
     with all individuals involved, notified the payer, and began voluntarily returning all monies
     garnered by the tests associated with the scheme.” The amounts of the refunds have not been
     disclosed, however, CBS News did confirm in its report that an investigation by the federal
     government has begun.


     Tricare is managed by the Defense Health Agency and is divided into three regions in the United
     States and multiple regions overseas, with each region served by a health insurance contractor.
     The Tricare South region, which includes Texas, is administered by Humana Military. A Humana
     media relations manager did not respond to Dark Daily’s request for a response to the CBS News
     report.




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     Over the past year, Dark Daily and its sister publication, The Dark Report have been contacted by
     numerous individuals claiming knowledge of businessmen, often located in Texas, who are
     organizing clinical enterprises designed to remunerate physicians for clinical laboratory test
     referrals in ways that would be recognized by experienced medical laboratory professionals as
     illegal inducements and kickbacks under federal law.


     In several cases, these scammers have approached established clinical labs, such as hospital labs, to
     ask for an agreement wherein the established labs would perform testing on specimens referred
     by the clinical enterprises being organized by these individuals. Where such agreements have been
     negotiated, the scammers then use the credibility of their “reference lab” to persuade physicians to
     send patient lab test samples to their shell companies. Anyone with knowledge of similar
     arrangements is encouraged to contact the editors of The Dark Report in confidence.


                                                                                   —Andrea Downing Peck


     Related Information:


     U.S. Military Members Duped to Help Pull Off Insurance Fraud


     Feds Investigating Insurance Fraud That Duped U.S. Military Members


     Department of Defense Press Briefing by Pentagon Press Secretary Peter Cook in the Pentagon
     Briefing Room


     In Response to the CBS News Story That Aired on June 8, 2016


     Report: Troops Duped in Alleged Tricare Fraud


     Baylor Taps the Brakes On Replacing the Chairman of Its Dermatology Program


     Lab Testing Scheme Targets Tricare


     Baylor Delays Leadership Appointment for Dermatologist Linked to Scam Involving Vets


     Is New Cycle of Laboratory Fraud Plaguing the Industry?




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     Filed Under: Compliance, Legal, and Malpractice, Laboratory Management and Operations, Laboratory
     News, Laboratory Pathology
     Tagged With: American Academy of Dermatology, CBS News, Clay Cockerell, clinical laboratory, Cockerell
     Dermatopathology, Dark Daily, dark intelligence group, Dark Report, Defense Health Agency, Department
     of Defense, Fort Hood, Humana Military, Linda Bozeman, medical laboratory scientist, Origen Laboratory,
     pathologist, pathology, Pentagon, Peter Cook, ProGen Lab Systems, Tricare, walmart




     Comments


     Clay Cockerell says
     August 26, 2016 at 10:10 am


     Dear Colleagues,


     This is Clay Cockerell, MD and the following is a synopsis of the entire issue alluded to above to the
     best of my knowledge. This is not a legal document and some of it is still speculative as we do not
     have all the facts yet.


     In addition to my traditional dermpath lab, I have a business relationship with a clinical pathology
     lab, Origen, that operates in the building where we work and does molecular pathology, genomics
     and other diagnostic testing that is managed by a third party lab management company. This
     offered us the opportunity to diversify into molecular pathology which we had been wanting to do
     for some time. It is a well-run operation that is managed by a completely different organization
     than my dermpath lab but is in-network because of my CLIA certificate and contracts.


     To the best of my knowledge, this is what happened in Killeen, Texas at more than one location.
     There were individuals who were hired as outside sales reps for Origen responsible for a scheme
     targeting military individuals, and ultimately Tricare, giving a gift card in exchange for submitting a
     urine and cheek swab sample for testing. There were physicians involved who either were
     complicit or may have had their identities stolen. The doctors’ names were used to order the tests
     which were sent to Dallas. The lab performed the tests with no knowledge that they were ordered
     in a tainted fashion and billed for the services.


     More than 10 months ago, when they became aware that the scheme was going on, the lab
     operators immediately terminated all relationships with those involved. Tricare was notified and




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     an arrangement was made to pay back revenue generated by the scheme. The lab operated
     appropriately as it has a fiduciary responsibility to perform tests on samples it receives. I found out
     about the situation after corrective actions were taken. I was not involved in dealing with the issue
     as I am not an operator of the lab.


     Regarding the CBS news story, a reporter had been doing an investigation on lab testing in general
     as to whether the testing is always legitimate. We think that when she learned about the previous
     year’s scheme, the decision was made to go with that story instead.


     The reporter appeared in my parking lot in early April with a cameraman and microphone as I was
     walking to my car to leave. She asked me a series of questions with no opportunity for me to
     prepare for in advance. Since I hold the CLIA certificate and am therefore affiliated with the lab, I
     could be linked indirectly with the scheme, and unfortunately, the video they had shot in my
     parking lot with images of me and our building were shown prominently in the piece.


     We believe the lab behaved in an appropriate and responsible fashion and I certainly did as well.
     Unfortunately, I have suffered major damage already such as the loss of business as well as other
     professional opportunities. This has been extremely stressful for my employees, my wife and my
     children as well.


     I am outraged and appalled that my good reputation and honest laboratory operations were used
     in this fashion and we will do everything in our power to see to it that justice is done. I am further
     appalled that these individuals targeted military personnel and their families. I have been serving
     veterans as a dermatologist and dermatopathologist via interpreting specimens from the Dallas
     VA hospital for more than 25 years. I have veterans working for me in my lab operation and have
     trained a number of veteran medical students, residents and fellows.


     We have had many well-wishes from those who know us to be honest. The focus on this issue has
     diminished dramatically and we hope it continues to do so. We continue to provide the best care
     we can to our patients and execute on our mission — to provide high-quality, cost-effective
     diagnostic services that reassure those who require them, anywhere in the world.


     Sincerely,
     Clay J. Cockerell, M.D.




     RT says




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     September 21, 2016 at 2:07 pm


     “We believe the lab behaved in an appropriate and responsible fashion and I certainly did as well.
     Unfortunately, I have suffered major damage already such as the loss of business as well as other
     professional opportunities. This has been extremely stressful for my employees, my wife and my
     children as well.”


     —


     INTERESTING STATEMENT DR. COCKERELL….I am sorry to hear how stressful this has been for
     you and your family….Many of of us can empathize with the feeling since your lab balance billed
     many of us $40,000 plus dollars for scam tests that were done. The terror of bankruptcy and
     elimination of any chance our kids can go to college due to your scheme and your exploitation of
     patients really drives home that feeling of major damage and loss. And the loss of professional
     opportunities for our children is extremely stressful for my family too.


     Your lab deserves justice to come down hard.




     D. Wooldridge says
     September 27, 2016 at 10:22 am


     So, on my EOB, this is not you?


     Health Care Professional: Cockerell Dermatopathology PA


     You Pay


     Your Plan Pays


     Amount


     $19,096.30


     Bill received by Aetna on 09/26/2016


     $4,153.90




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     A cheek swab done by my Primary Care doctor that told me it was free?




     Tyjuana shaw says
     October 5, 2016 at 12:34 am


     This company also did the same thing to me in Charlotte, NC. My dr offered genetic testing. The
     lab work was sent to Cockerelle Labs. We have received paperwork that the amount of the testing
     was $30,000. They charged our insurance company $20,000.




     Mary McComish says
     December 29, 2016 at 4:29 pm


     My husband was offered free genetic experimental testing to determine if his medication would
     actually work for him. We were told that neither we nor our insurance company, BCBS, would be
     billed. This was on 9/28/15. We are now getting a bill from Origen Laboratories DNA Cockerall
     Dermatopathology showing they billed BCBS $4,544.68 and they’re now billing us $1,049.65. We
     are getting the run around from both the Lab and Dr. William Alec Tisdall’s office.




     Shelly Nickell says
     April 17, 2017 at 10:57 am


     My son is being threatened by OriGen Labs! They have been sending us bills for almost $600.00
     for ,”labwork” done on a visit to the orthopedic for a knee injury in October of 2015. He had X-rays
     done! No swab or bloodwork done! They will not respond to either of us ! Never an answer on
     billing line! What can he/we do. He is a struggling college student whose credit is being
     threatened! We are not military. Please advise!


     Thank you!!!




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                                                                      LATEST E-BRIEFINGS




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                                                           Drones Used to Deliver Clinical
                                                             Laboratory Specimens in
                                                                   Switzerland



                                                           CMS Missed 96 Hospitals with
                                                          Suspected HAI Reporting Due to
                                                            Limited Use of Analytics, OIG
                                                                  Report Reveals



                                                               Studies Show Utilization
                                                             Management Systems Help
                                                            Clinical Laboratories Remove
                                                             Physician Uncertainty Over
                                                           Availability of Diagnostic Tests
                                                           and How to Properly Interpret
                                                                        Results



                                                         Expected Increase in Demand for
                                                          Remote Health Monitoring of
                                                            America’s Elderly Presents
                                                             Opportunities for Clinical
                                                         Laboratories to Provide Services



                                                           Canadian Researchers Develop
                                                          Low-Cost, Lens-Free Light-Field
                                                              Microscope; Could Make
                                                             Anatomic Pathology Labs
                                                           Portable and More Affordable




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BUSINESS ORGANIZATIONS INQUIRY - VIEW ENTITY                                                                             Page 1 of 1

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TEXAS SECRETARY of STATE
ROLANDO B. PABLOS
 UCC | Business Organizations | Trademarks | Notary | Account | Help/Fees | Briefcase | Logout
                                    BUSINESS ORGANIZATIONS INQUIRY - VIEW ENTITY
Filing Number:              801750722                              Entity Type:   Professional Association
Original Date of Filing:    March 15, 2013                         Entity Status: In existence
Formation Date:             N/A
Tax ID:                     32050454381                            FEIN:
Duration:                   Perpetual
Name:                       Cockerell Dermatopathology, PA
Address:                    2110 RESEARCH ROW SUITE 100
                            DALLAS, TX 75235 USA

                                                                                                                     ASSOCIATED
  REGISTERED AGENT         FILING HISTORY            NAMES                MANAGEMENT         ASSUMED NAMES            ENTITIES

                                                                                                    Name
 Assumed Name                           Date of Filing       Expiration Date    Inactive Date       Status    Counties
 OriGen Laboratories                    January 25, 2016     January 25, 2026   December 16, 2016   Abandoned All Counties


  Order       Return to Search




Instructions:
    To place an order for additional information about a filing press the 'Order' button.




Page 1 of 1                                                                                                                  6/9/2017
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                      EXHIBIT 9
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This Business Is Not BBB Accredited
Cockerell Dermatopathology
Business Information
PO Box 678705
Dallas, TX 75267-8705

BBB File Opened: 07/07/2015

Business Category
  Referral - Doctor

  Reviews & Complaints

               View Customer Reviews [0]                                              View Customer Complaints [4]


     SORT BY: Date                      FILTER BY: Show All




  Customer Complaints Summary
  4 complaints closed with BBB in last 3 years | 1 closed in last 12 months

   Complaint Type                                                            Total Closed Complaints

   Billing / Collection Issues                                               4

   Advertising / Sales Issues                                                0

   Problems with Product / Service                                           0

   Delivery Issues                                                           0

   Guarantee / Warranty Issues                                               0

   Total Closed Complaints                                                   4


  The business failed to respond to the dispute. (4 complaints)



  09/05/2016            Billing / Collection Issues

                        Complaint

                        double paid the bill on May 16,2016 Have called company several times say they are sending a check or its in
                        the works Both checks were cash 6/20/'16
                        Company billed me twice sent check X­X­XXXX second billing thought the check was lost. sent second check X­
                        XX­XXXX Both cashed on 6/20 and 6/21/2016. (Show More of Complaint)

                        Desired Settlement

                        Billed me twice thought check was lost so paid a
                        again. Both checks were cashed on6/20 and 6/21/2016
                        Have called several times told its in the works or they will be sending me a check Last call was 07­28­'16 I would
                        just like my money back taking 2 months for it to be return is taking so long is (Show More of Desired Settlement)
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  06/27/2016             Billing / Collection Issues

                         Complaint

                         I had a wart removed from my foot on 3/29/2016. I was not informed that they would send a sample to the
                         Pathologist and charge me for it.
                         I did not ask for, nor was I informed, that a sample of the tissue was being sent to a Pathologist's Lab and that I
                         would be billed for the lab work. This was never (Show More of Complaint)

                         Desired Settlement

                         Please remove the Pathologist part of my invoice for the amount of ($80.42).



  01/15/2016             Billing / Collection Issues

                         Complaint

                         Cockerell Dermatopathology sent a bill in the amount of $4,283.24. I've never heard of this company and never
                         had a procedure on the date or procedure
                         Cockerell Dermatopathology sent a bill in the amount of $4,283.24. I've never heard of this company and never
                         had a procedure on the date or procedure

                         Desired Settlement

                         Cockerell Dermatopathology sent a bill in the amount of $4,283.24. I've never heard of this company and never
                         had a procedure on the date or procedure




BBB Rating Scorecard
THIS BUSINESS IS NOT BBB ACCREDITED
Cockerell Dermatopathology


F
BBB Rating System Overview (https://www.bbb.org/council/overview-of-bbb-grade/)


Customer Review Rating:
The BBB Customer Review Rating represents the customer's opinion of the business. The Customer Review Rating percentages are based on the total
number of positive, neutral, and negative reviews posted.


There are NO reviews for this business.
Be the ﬁrst to leave a review!



[4] Total Customer Complaints (https://www.bbb.org/dallas/business-reviews/referral-doctor/cockerell-dermatopathology-in-dallas-
tx-90557583/reviews-and-complaints?section=complaints)



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  When considering complaint information, please take into account the company's size and volume of transactions, and understand that the nature of
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                     EXHIBIT 10
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This Business Is Not BBB Accredited
Origen Laboratories
Business Information
(844) 667-4436
2110 Research Row, Suite 100G
Dallas, TX 75235

BBB File Opened: 12/21/2016

Business Category
  Laboratories - Medical

Licensing, Bonding or Registration
This business is in an industry that may require professional licensing, bonding or registration. BBB encourages you to check with the
appropriate agency to be certain any requirements are currently being met.
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  Reviews & Complaints

               View Customer Reviews [0]                                                View Customer Complaints [1]


     SORT BY: Date                      FILTER BY: Show All




  Customer Complaints Summary
  1 complaint closed with BBB in last 3 years | 1 closed in last 12 months

    Complaint Type                                                             Total Closed Complaints

    Problems with Product / Service                                            1

    Advertising / Sales Issues                                                 0

    Billing / Collection Issues                                                0

    Delivery Issues                                                            0

    Guarantee / Warranty Issues                                                0

    Total Closed Complaints                                                    1


  The business failed to respond to the dispute. (1 complaint)



  01/18/2017            Problems with Product / Service

                        Complaint

                        ORIGEN LABORATORIES OWES SOUTHERN LAB SPECIALTIES LLC $3,945.00 FOR SERVICES RENDERED
                        FROM 7/5/16 TO 8/23/26. IT HAS BEEN 5 MONTHS WITH NO ANSWER FROM ORIGEN LABORATORIES.




BBB Rating Scorecard
THIS BUSINESS IS NOT BBB ACCREDITED
Origen Laboratories


D+
BBB Rating System Overview (https://www.bbb.org/council/overview-of-bbb-grade/)


Customer Review Rating:
The BBB Customer Review Rating represents the customer's opinion of the business. The Customer Review Rating percentages are based on the total
number of positive, neutral, and negative reviews posted.


There are NO reviews for this business.
Be the ﬁrst to leave a review!



[1] Total Customer Complaints (https://www.bbb.org/dallas/business-reviews/laboratories-medical/origen-laboratories-in-dallas-tx-
90799811/reviews-and-complaints?section=complaints)
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                     EXHIBIT 11
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                                     CAUSE NO. DC-17-06799

 CLAY COCKERELL and                                     §      IN THE DISTRICT COURT OF
 COCKERELL DERMATOPATHOLOGY,                            §
 P.A.,                                                  §
                                                        §
        Plaintiffs,                                     §
                                                        §
 v.                                                     §       DALLAS COUNTY, TEXAS
                                                        §
 CBS NEWS INC; JIM AXELROD; and                         §
 EMILY RAND,                                            §
                                                        §
        Defendants.                                     §       193RD JUDICIAL DISTRICT


                             VERIFICATION OF NICHOLAS E. POSER

 STATE OF       J{ei-J   Yo rf\
                         (
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                                                §
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 Before me, the undersigned notary, on this day personally appeared Nicholas E. Poser, the
 affiant, whose identity is known to me. After I administered an oath, affiant testified as follows:

         "My name is Nicholas E. Poser. I am over twenty-one years of age and of sound mind
 and capable of making this verification. I am the Senior Vice-President and Associate General
 Counsel of CBS Broadcasting, Inc. I have read the Verified Pleas contained in Defendants'
 Answer, Special Exceptions, Verified Pleas and Affirmative Defenses to Plaintiffs Original
 Petition.

         There is a defect of parties in Plaintiffs' Original Petition because Plaintiffs have failed to
 properly identify the correct CBS entity. CBS News Inc., named as a defendant in the above-
 styled lawsuit, is not the correct name of the legal entity that broadcast and published the reports
 at issue. The correct name of that entity is CBS Broadcasting Inc., which owns and operates the
 CBS News Division of which "The CBS Evening News" is a part. To the extent Plaintiffs seek
 to bring claims against "The CBS Evening News," they have sued the wrong entity.
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         Furthermore, I affirm that at no time did Defendants receive a written request for a
 correction, clarification, or retraction of the Reports prior to the filing of this lawsuit."

                                               /·k~ F: P~
                                           Affiant


 Sworn to and subscribed before me by   /( jc_h o/a .S E · -Po.s er              on July _]_, 2017.
                                                                        7
                                              '-)f:u,...1 ,.,. (/ ·   /J cZt.ti1P./UL-
                                           Notary Public      ~

                                            My commission expires:          ? - 5 - J.... 0 I ff

                                                                           IRENE A. GAUDREAU
                                                                      Notary Public, State of New York
                                                                                No.4936640
                                                                        Qualified in Nassau County
                                                                      Commission Expires July 5, 20.LE




                                               2
